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                        Exhibit 1
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   DLA TROOP SUPPORT IMAGING PROGRAM REQUEST FOR OFFERS (RFO)

                              RFO: DLA-FSDA-RFO-12142017

   Deployable Computed Tomography (CT) Standardization for Department of Defense


I. SCOPE OF RFO

The purpose of this Request for Offer (RFO) is to solicit offers for Deployable Computed
Tomography (CT) Scanners for use within a wide variety of clinical and environmental
conditions, including deployment and contingency operations. The selected vendor will be the
standardized Deployable CT supplier for the U.S. Army, Air Force, and Navy. After the
standardization selection, DoD customers will be purchasing the equipment from the vendor
selected under this RFO to replace the current generation of equipment. The standardization is
estimated to last 10 years or as long as the selected system is available commercially, whichever
is longer.

Included in this document and attachments are the complete minimum requirements. This
delivery order competition is being issued in accordance with FAR Part 16.5 and invites all
current Radiology Program contract holders under solicitation SP0200-06-R-8005/M6-Q8-06
and SPE2D1-15-R-0001 to submit a proposal. Vendors must review all documentation
completely and comply with all minimum requirements. Selection of a single vendor shall be on
an all or none basis where vendors must quote on all requirements contained in this RFO.


II. ADMINISTRATIVE AND RFO REQUIREMENTS

A. RFO SUBMISSION PROCEDURES:

   (1.) All proposals are due on February 8, 2018 at 2:00pm Philadelphia local time and shall be
   submitted via email to jaclyn.hartzell@dla.mil and maciej.okulicz-kozaryn@dla.mil.

   (2.) Electronic submissions and copies must use Microsoft Word, Adobe PDF, and/or
   Microsoft Excel formats.

   (3.) Vendors may revise or withdraw their quote up to the closing date cited above.

   (4.) The Government intends to make a delivery order selection based on the initial quotes
   submitted. However, the Government reserves the right to conduct negotiations if the
   Contracting Officer determines them necessary.

   (5.) Quotes must be valid for 180 days after the closing date.

B. STANDARDIZATION SCOPE AND LIMITATIONS
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(1.) Standardization Scope

The scope of this RFO is to provide a Deployable Computed Tomography (CT) System. The CT
System as described in this RFO shall meet all requirements outlined in this RFO, RFO
Statement of Work, RFO attachments and the vendors Radiology basic contract. It is the vendor's
responsibility to provide a CT System, meeting all Government requirements. After the
standardization selection any DLA customers will be able to purchase the equipment from the
vendor selected under this RFO to replace the current generation of equipment.

Additionally, DoD Customers may purchase associated items required to support the operation
of Deployable CT’s; including but not limited to system optional features and capabilities,
consumables, accessories, training, training materials, maintenance, ISO Shelters, turnkey
installation, repair parts and upgrades. Furthermore, the vendor shall support Alternate
Configurations of the Deployable CT by adding or removing items from the base standardized
models such as system options, features, capabilities, consumables, accessories, training, training
materials, cases, and repair parts.

(2.) Estimated Quantity of Standardization

The Government estimates needing to purchase approximately 35 Deployable CT units under
this standardization. The estimate is further broken out as follows by individual Service:

       SERVICE                  ESTIMATE QTY
       AIR FORCE                     12
       ARMY                          18
       NAVY                           5

The estimated quantities listed in this RFO are only estimates based on data available to the
Contracting Officer at the time of the RFO. The Government is in no way obligated to purchase
beyond the minimum guaranteed quantity. When you offer your price, you must take into
account any business risk associated with these estimates.

(3.) Guaranteed Minimum Quantity of Standardization RFO. The Government guarantees that it
will order a minimum of 3 CT units. The Government may fulfill the guarantee by a single
delivery order or by any number of delivery orders.

(4.) Maximum Quantity of Standardization RFO

Government has the option to purchase up to a maximum of 45 CT units under this
Standardization, by a single delivery order or by any number of delivery orders.

(5.) Start of Standardization

The standardization shall become effective through issuance of first delivery order against this
RFO which shall be provided to all unsuccessful vendors, along with opportunity for a
debriefing. The selected vendor shall have to pass all First Article Testing (FAT) and receive an

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Authority to Operate (ATO) under Risk Management Framework (RMF) prior to being allowed
to provide production quantities. Failure to pass FAT and to receive an ATO may form a basis
for a termination for cause of all orders and result in selection of a different vendor for this
standardization.

(6.) End of Standardization

The standardization is estimated to last 10 years or as long as the selected system is available
commercially, whichever is longer. The Government reserves the right to end the standardization
at any point after satisfying the Minimum Quantity of the Standardization. The Standardization
will continue through any vendor’s contract renewal under the Program as long as they agree to
maintain all terms and conditions of this standardization, including maintaining equal or better
pricing as provided under this standardization and a Justification for Exception of Fair
Opportunity is approved.

(7.) Standardization Pricing

The selected vendor’s net prices under this standardization shall remain fixed for the life of the
standardization. Vendors may only change new pricing through the Economic Price Adjustment
(EPA) Provisions in their Radiology and Imaging Systems Program contract, which requires
immediate downward adjustment when commercial list prices decrease and up to one price
increase a year, if requested in writing 60 days in advance of option exercise and can provide
sufficient other than cost or pricing data to justify the EPA increase. However, any upward
increase, including increases acceptable under the EPA provision, may end the standardization if
it is determined to be in the best interest of the Government.

(8.) Standardization Ordering

Beyond the initial delivery order to denote which vendor has been selected under this
standardization and RFO, all future orders under this standardization will be ordered through
separate delivery orders. The delivery orders will be issued as long as the standardization is in
place and the Government has not reached the maximum quantity of the standardization. The
individual orders will specify the quantity and CONUS delivery locations.

C. COST OF OFFER: The government shall not be responsible or liable for any costs incurred
by the vendor in the preparation and submission of their response.

D. APPLICABLE TERMS AND CONDITIONS: Clauses, terms and conditions identified in
the selected vendor’s existing Radiology contract resulting from solicitation SP0200-06-R-
8005/M6-Q8-06 and SPE2D1-15-R-0001, including all amendments and modifications, shall
apply to any resultant delivery order.

E. REJECTION OF OFFERS: Any late offer shall be rejected in accordance with FAR
52.212-1(f). The Government reserves the right to reject any or all offers that fail to meet
submission requirements and/or minimum requirements. Each vendor shall submit only one
offer. Alternate or multiple offers from the same vendor are not acceptable and will result in


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rejection of all offers from the vendor. The Government shall have no obligation to award any
delivery order as a result of this RFO.

F. SUBCONTRACTOR DISCLOSURE: If the offer includes subcontractors or embedded
third party products or services, the vendor must clearly state this in the offer, including the other
vendors name and specific items coming from that third party vendor. The vendor submitting the
offer has primary project and service liability for all products and services that collectively meet
the requirements of the RFO. The vendor shall remain solely responsible for performance of all
work, including work that is subcontracted.

G. OFFERED ITEMS NOT ON CONTRACT: Items that are not currently on a vendor’s
contract may be offered, but the items must be found to be acceptable for addition prior to
selection under this RFO. A contract addition request must be included as part of the RFO
submission. The contractor must identify each item to be added and complete Attachment 2,
Contract Add Request tab. In Attachment 2, Contract Add Request tab, the contractor must
provide all price support information that is required for normal contract addition. Items that
cannot be added to the contract for any reason (i.e. pricing cannot be determined as fair and
reasonable, item not within scope, etc.) may result in rejection of the offer.

H. VENDOR QUESTIONS AND GOVERNMENT POINT OF CONTACT: All vendor
inquiries, questions, requests for clarification or for data in connection with the procurement
shall be submitted electronically via e-mail to jaclyn.hartzell@dla.mil and maciej.okulicz-
kozaryn@dla.mil by January 11, 2018. Vendors are advised to submit questions as early as
possible to the Government. The proposal submission due date is unlikely to be extended based
on the required timeframes.

I. USE OF NON-GOVERNMENT PERSONNEL: DLA Troop Support will utilize a Non-
Government employees from Allied Technologies and Consulting, LLC, Decypher Technologies,
LTD and Global Computer Product, Inc. as an advisor to assist in the review of vendor offers. The
Non-Government advisors may assist in and provide input regarding the evaluation, but will not
determine ratings/rankings of offeror's proposals or make any selection decision. The Non-
Government employees above will be bound by a Non-Disclosure/Conflict of Interest statement to
protect proprietary and source selection information. Any objections to the specified use of Allied
Technologies and Consulting, LLC, LLC, Decypher Technologies, LTD and/or Global Computer
Product, Inc shall be submitted to the Contracting Officer prior to closing of this RFO. Submission of
a proposal without such objection will be considered as consent to the specified use of the firms
stated above.

H. DELIVERY: Transport of equipment to the delivery location will be solely the responsibility
of the contractor. Contract delivery timeframes shall apply and delivery location(s) will be
CONUS. Addresses and the establishment of delivery timeframes will be specified in
administrative delivery orders. Phased deliveries will be permissible if specified by the
Government in an administrative delivery order.

J. FIRST ARTICLE TESTING (FAT): Government First Article Testing will be required
before any vendor can begin performance of production quantities. The Government reserves the
right to waive any part of FAT.

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     (a.) The Contractor shall deliver 1 unit within 120 calendar days from the date of the
     selection delivery order to the Government at a CONUS location. The address will be
     provided in the selection delivery order. The unit shall consist of the CT system that is fully
     installed in the ISO shelter.

     (b.) The Government shall determine if the Government supplied ISO shelter or Vendor
     Supplied ISO shelter is used for the FAT. If the Government provides the ISO shelter for
     the FAT, then the timeframe shall be adjusted by amount of time required to deliver the
     ISO shelter to vendor location.

     (c.) There is a specific ISO Shelter FAT requirement that would just test the Vendor
     Supplied ISO shelter, prior to installation of the CT. The Government reserves the right to
     waive FAT for the vendor supplied ISO shelter if it meets all ASTM and ISO certifications
     at time of selection.

     (d.) Vendor shall provide CT Operator and Biomedical Equipment Specialist (BES)
     training to, at minimum, two (2) CT Operators, and two (2) CT BES personnel prior to the
     start of the operational test event of FAT.

The shipping documentation shall contain the contract and delivery order number and Item
identification.

(b.) The first article will be tested to ensure the selected system meets the minimum requirements
listed in this RFO, requirements in the RFO attachments, and the vendor’s own commercial
specifications. There are three testing events: operational testing, environmental testing, and
Cybersecurity/RMF testing/review to obtain Authority to Operate (ATO). Additionally, Section
IV. 13. Environmental Minimum Requirements below describes specific testing
procedures/requirements that may be used to test specific minimum requirements.

(c.) The vendor will be required to be available, with a response time within 24 hours, during the
testing in order to answer operational questions or conduct repairs, if needed. Within 15
calendar days after the Government receives the first article, the Contracting Officer will notify
the Contractor, in writing, the time and location of the testing. The vendor must inform the
Government within 7 calendar days whether the date is acceptable. It is the vendor’s
responsibility to make all arrangements, including any base access, and cover all associated costs
including travel, lodging, etc. Testing will take place no later than 90 calendar days after receipt
of the first article.

(d.) Within 30 calendar days after the Government concludes testing, the Contracting Officer
shall notify the Contractor, in writing, of the conditional approval, approval, or disapproval of
the first article. For the Cybersecurity testing portion, the approval shall be the ATO.

(e.) The notice of conditional approval or approval shall not relieve the Contractor from
complying with all requirements of the specifications and all other terms and conditions of this



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contract. A notice of conditional approval shall state any further action required of the
Contractor. A notice of disapproval shall cite reasons for the disapproval.

(f.) If the first article is disapproved, the Contractor, upon Government request, shall submit an
additional first article for testing within 30 calendar days. After each request, the Contractor
shall make any necessary changes, modifications, or repairs to the first article or select another
first article for testing. All costs related to these tests are to be borne by the Contractor, including
any and all costs for additional tests following a disapproval. This includes providing an
additional first article to the Government which shall be at no cost the Government. The
Government shall act on this first article within the time limit specified in paragraphs (c.) and
(d.) of this section. The Vendor will be given at least one opportunity to resubmit an acceptable
FAT before the Government may terminate the order. In the event that the Government
entertains any extension or allows additional FAT resubmissions, the Government reserves the
right to require an equitable adjustment of the contract price for any extension of the delivery
schedule or for any additional costs to the Government related to these tests.

(g.) If the Contractor fails to deliver any first article on time, or the Contracting Officer
disapproves any first article, the Contractor shall be deemed to have failed to make delivery
within the meaning of FAR 52.212-4(m), Termination for cause.

(h.) Unless otherwise provided in the contract, the Contractor --
       (1) May deliver the approved first article as a part of the delivery order quantity, provided
       it meets all contract requirements for acceptance and was not consumed or destroyed in
       testing; and
       (2) Shall remove and dispose of any first article from the Government test facility at the
       Contractor’s expense.

(i.) The Contractor is responsible for providing operating and maintenance instructions, spare
parts support, and repair of the first article during any first article test.

(j.) Before first article approval, the acquisition of materials or components for, or the
commencement of production of, the balance of the contract quantity is at the sole risk of the
Contractor. Before first article approval, the costs thereof shall not be allocable to this contract
for
        (1) progress payments, or
        (2) termination settlements if the contract is terminated for the convenience of the
        Government.

K. COMPLIANCE STANDARDS: The proposed equipment shall meet the United States
Food and Drug Administration (FDA) standards/guidelines, where applicable.

L. SPECIAL ACCEPTANCE TESTING INSPECTION
Shall pass the DoD Computerized Tomography Acceptance Testing-Inspection Protocol
provided by the Government (Conducted in conjunction with vendor and prior to the start of
Operational and Environmental Testing).


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M. ATTACHMENTS:

   Attachment 1 - Vendor Submission Form

   Attachment 2 - Pricing Submission Form

       Evaluated CLIN Pricing Tabs

       Required CLIN Pricing and Repair Parts Tab

       Optional Item Pricing Tab

       Contract Add Request Tab

   Attachment 3 - Joint Medical Device Cyber Security Assessment

N. RFO CLINS:

(1.) EVALUATED CLINS

CLIN 0001 – Deployable Air Force CT with Government supplied ISO Shelter, including vendor
performing all needed installation

CLIN 0002 – Deployable Army/Navy CT with Government supplied ISO Shelter, including
vendor performing all needed installation

CLIN 0003 – Shared Maintenance Services Contract (CONUS for fixed, or deployable units)

CLIN 0004 – Shared Maintenance Services Contract (CONUS for Depot, or Storage)

CLIN 0005 – Shared Maintenance Services Contract (OCONUS for deployed units)

CLIN 0006 – Risk Management Framework Service Agreement

CLIN 0007 – Contrast Media Injector

(2.) MANDATORY CLINS:
CLIN 0008 – Deployable Air Force CT with vendor supplied ISO Shelter, including vendor
performing all installation***

CLIN 0009 – Deployable Army/Navy CT with vendor supplied ISO Shelter, including vendor
performing all installation

CLIN 0010 – CT Operator Training – Individual at vendor facility***



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CLIN 0011 – CT Radiologist Training – Individual at vendor facility***

CLIN 0012 – CT Maintainer Training – Individual at vendor facility***

CLIN 0013 – Reconstruction Upgrade Options – Vendor shall offer price to add Facial, Cardiac,
and Dental Reconstruction Packages****

CLIN 0014 – Radiologist Workstation ****

CLIN 0015 – 128 Slice Detector CT system – Vendors should offer price on top of other
configurations or provide for total prices for each configuration with a 128 Slice System.

CLIN 0016 – 128 Slice Detector CT system Upgrade – Vendor shall offer the price required to
upgrade an existing 64 Channel CT to 128 slice CT.

CLIN 0017 - Clinical Applications Support (Train the Trainer Concept) – GROUP (up to 6) at
government location CONUS

CLIN 0018 - Clinical Applications Support (Train the Trainer Concept) – GROUP (up to 6) at
government location OCONUS (Germany)

CLIN 0019 - OEM Service Training (Train the Trainer Concept) – GROUP (up to 6) at
government location CONUS

CLIN 0020 – OEM Service Training (Train the Trainer Concept) – GROUP (up to 6) at
government location OCONUS (Germany)


IV. STATEMENT OF WORK (SOW)

This solicitation provides for the supply of deployable CT Scanners and any additional items
required to support the operation of these systems; including but not limited to system optional
features and capabilities, consumables, accessories, training, training materials, maintenance,
ISO Shelters, turnkey installation, repair parts and upgrades. . The Deployable CT will be primarily
used for deployment and contingency operations but may also be used at medical facilities during
peace time. The vendor shall offer four configurations, two Service specific Standard Configurations
(SC) where the ISO shelter will be provided by Government and two Service Specific Full Turnkey
Configuration (FTC) where the vendor supplies the ISO shelter. Furthermore, the vendor shall
support Alternate Configurations (ACs) of the CT Scanner by adding or removing items from the SC
model such as system options, features, capabilities, consumables, accessories, training, training
materials, cases, and repair parts. ACs will be defined and ordered based on the individual Services’
operational requirements. Several Service AC’s must be offered as part of RFO for the vendor to be
considered and these are spelled out below.




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SRD#    DESCRIPTION OF          MINIMUM REQUIREMENT                   OBJECTIVE
        MINIMUM
        REQUIREMENT
        AND/OR
        OBJECTIVE


        SYSTEM WEIGHT
1       CT System weight        The CT Scanner system shall not       To have a system
                                exceed the maximum combined           weight that is lighter
                                system weight of 15,000 lbs. The      than the minimum
                                CT scanner system shall be            requirement.
                                composed of the Gantry, Patient
                                Support Table, Operator Console,
                                Operator Console UPS, Operator
                                Console Shielding, Scatter
                                Radiation Shielding, Contrast
                                Media Injector, Radiologist
                                Workstation, Power Solutions,
                                Host & Server CPUs, the ISO
                                shelter and all other items
                                required to meet the minimum
                                requirements and to operate the
                                CT scanner.
        CLINICAL
2       FDA Regulation          Shall comply with all applicable
                                Food and Drug Administration
                                (FDA) regulations.
3       Gantry Sealing          Shall have a gantry bore with
                                protection from liquid spills.
                                Shall have an Ingress Protection
                                (IP) rating of at least IP64.
4       Image Reformation       Shall perform sagittal, coronal,
                                and oblique reformatting of the
                                images.
5       Plane Film              Shall have plane film
                                representation capability.
6       Image Slice Thickness   Shall have a thickness of slice
                                capability of 0.4-10 mm/slice.
7       Body Scan Capability    Shall have the capability to
                                perform a continuous full-body
                                scan (from head to toe) that
                                consists of a Head scan without
                                intravenous (IV) contrast,
                                Neck/c-spine, chest, abdomen,


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                                 and pelvis with IV contrast
                                 within 0.4 -1.0 mm/slice
                                 thickness.




8        Patient Support Table   Shall have a patient table
         Scanning Range          scannable range of at least 200
                                 cm without repositioning the
                                 patient.
9        Gantry Tilt             Shall have a gantry that can tilt at
                                 least ± 30 degrees.
10       Patient Support Table   Shall support a patient with
         Weight Capacity         weight of 400 pounds or greater.
11       Gantry Aperture         Shall have a gantry aperture size
                                 of at least 70 cm diameter.
12       Biopsy Capability       Shall have the option for biopsy
                                 capability.
13       Localizer               Shall have a laser scan localizer
                                 to mark access levels.
14       Gating Capability       Shall have prospective
                                 Electrocardiograph (ECG)
                                 gating/triggering and
                                 retrospective ECG
                                 gating/triggering.
15       Spatial Resolution      Shall be capable of generating
                                 images with a high contrast
                                 spatial resolution of at least
                                 0.625mm. This EC will be
                                 validated using an American
                                 College of Radiology (ACR)
                                 Computed Tomography (CT)
                                 Quality Control Manual and an
                                 ACR accredited image quality
                                 phantom.




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16       Operator Console        Shall include a CT Technologist
                                 operating console that
                                 encompasses a high-resolution
                                 flat-panel Liquid Crystal Display
                                 (LCD) monitor, scan control box,
                                 keyboard & mouse, and a
                                 computer processing unit (CPU)
                                 with Windows 7 or equivalent
                                 operating system and a common
                                 image Computerized Imaging
                                 Reference System (CIRS). The
                                 operating system must be
                                 upgradable to Windows 10 or if
                                 not using Microsoft, then other
                                 operating systems must be
                                 current and upgradeable as to
                                 receive RMF ATO.
17       Radiologist             Shall include an optional
         Workstation             Radiologist Workstation: The
                                 workstation shall enable the
                                 radiologist to view the currently
                                 acquired study from the operator
                                 console and independently
                                 manipulate reconstructed images
                                 of previously acquired studies.
                                 The operating system must be
                                 upgradable to Windows 10 or if
                                 not using Microsoft, then other
                                 operating systems must be
                                 current and upgradeable as to
                                 receive RMF ATO.
18       Metal Artifact          Shall have a Metal Artifact
         Reduction               Reduction algorithm as part of
                                 the standard configuration.
19       Patient Throughput      The CT system shall have a
                                 patient throughput of at least 6
                                 full-body scans per hour.
20       Detector Channel Size   Shall have a detector channel size     Include an upgrade
                                 of at least 64 channels. Shall         path to 128 channel
                                 have at least 64 channel detectors     detectors
                                 and include an upgrade path to
                                 128 slices.
21       Clinical Imaging        The CT system shall perform, at
         Protocols               a minimum, the following
                                 clinical imaging procedures:
                                 a. Head, with or without contrast

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                                 b. Facial bones, with or without
                                 contrast
                                 c. Temporal bones, with or
                                 without contrast
                                 d. Neck, with or without contrast
                                 e. C-spine, with or without
                                 contrast
                                 f. CTA head, CTA head and
                                 neck, CTA neck, CTA chest,
                                 CTA pulmonary angiogram, CTA
                                 Aorta, CTA upper and lower
                                 extremity runoff
                                 g. CTV head, CTV lower
                                 extremities
                                 h. Chest, with or without contrast
                                 i. Thoracic spine, with or without
                                 contrast
                                 j. Abdomen and pelvis, with or
                                 without contrast (oral and/or iv)
                                 to include CT Renal stone, CT
                                 adrenals, CT kidneys, CT liver,
                                 CT pancreas
                                 k. CT pelvis, with or without
                                 contrast
                                 l. CT lumbar spine, with or
                                 without contrast
                                 m. CT sacrum/coccyx, with or
                                 without contrast
                                 n. CT extremities with or without
                                 contrast (hand, wrist, forearm,
                                 elbow, humerus, shoulder,
                                 scapula, femur, knee, tibia, ankle,
                                 and foot)
         TECHNICAL
22       Reconstruction Matrix   All images shall have a minimum
         Size                    512 x 512 reconstruction matrix
                                 size.
23       Image Reconstruction    Shall have a maximum image
         Rate                    reconstruction rate (with a 512 x
                                 512 reconstruction matrix size) of
                                 at least 20 images per second.
24       Image Data Output       Shall have CT image data output
                                 from the CT host computer to an
                                 optical disk.



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25       Hard Copy Image          Shall have the capability to
         Output                   provide hard copy image output
                                  on multiple format media (Dry-
                                  Imager, DVD).
26       Image Processing Time Shall have an image processing
                                  time of at least 10 images/second
                                  following scan acquisition.
27       Dose Monitoring          Shall provide dose monitoring
                                  capabilities and display dose
                                  information on screen.
28       System X-Ray             Shall have a CT X-ray generator
         Generator Power          power of 80kW or less, using the
                                  existing 208VAC from the
                                  100kW Tactical Quiet Generator
                                  (TQG).
29       System X-Ray Current Shall have an operational CT X-
         (mA)                     ray mA range within 20-665 mA,
                                  using the existing 208VAC from
                                  the 100kW Tactical Quiet
                                  Generator (TQG).
30       System X-Ray Peak        Shall have an operational CT X-
         Kilo-Voltage (kVp)       ray kVp range within 80-135kVp.
31       System Mean Time         The system's Mean Time
         Between Failure          Between Failure (MTBF) shall
         (MTBF)                   not be less than 720 system
                                  operating hours (30 Days).
32       X-Ray Tube Mean          The X-ray Tube Mean Time
         Time Between Failure     Between Failure (MTBF) shall
                                  not be less than 410 hours of use.
33       System Mean Time         The Systems Mean Time to
         Between Failure          Repair (MTTR) shall not exceed
                                  the following:
                                  a. Field Maintenance System
                                  Repairs: 1.33 hours (System
                                  Repairs)
                                  b. Field Maintenance Repairs: 3
                                  hours (Component Level)
                                  c. Sustainment Maintenance
                                  Repairs: 6 hours (Major
                                  Component Level)
34       Operational Availability Operational Availability shall be
                                  no less than 90% (Based on a 30
                                  day (24h-7day) schedule).




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35       Scattered Radiation    Vendor shall provide a scattered
         Report                 radiation report of the proposed
                                system.
36       Radiation Shielding    Vendor shall provide radiation
                                attenuation shielding within the
                                ISO shelter based on the scatter
                                radiation plot for the system. The
                                radiation attenuation shielding
                                solution shall provide at least
                                98% attenuation.
37       CT Thermal Footprint   Vendor shall provide
         Documentation          documentation of the CT system's
                                thermal footprint (i.e. heat
                                dissipation) while scanning.
38       System Heat            When operating, the system shall
         Dissipation            not exceed heat dissipation of
                                approximately 10KW British
                                Thermal Units. (IECU Capacity =
                                60K BTU's 1TON= 12K BTU's)
         MEDICAL PHYSICS
39       Operator Console       Shall provide a CT scanner
         Shielding              operator console that is properly
                                shielded in accordance with the
                                United States Environmental
                                Protection Agency Federal
                                Guidance Report No. 14:
                                Radiation Protection Guidance
                                for Diagnostic and Interventional
                                X-Ray Procedures.
40       Radiation Dose         Shall display values for Volume
         Parameters Display     Computed Tomography Dose
                                Index (CTDIvol) and Dose
                                Length Product (DLP). Displays
                                an estimate of Computed
                                Tomography Dose Index (CTDI)
                                and DLP before and after each
                                scan, with an accuracy of ± 20%
                                of measured CTDI. Shall
                                generate a dose report for each
                                exam that is included with the
                                scanned images.
41       Radiation Dose         Vendor shall provide
         Documentation          documentation listing CTDI,
                                DLP, and effective dose levels
                                for the following anatomies: adult
                                head, adult abdomen, adult

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                             pelvis, adult chest, adult neck,
                             and pediatric abdomen.




42       Test Patterns       a. The acquisition workstation
                             shall be configured to allow the
                             operator to enlarge by at least
                             2400%, window and level, and
                             pan display TG18 images on all
                             display monitors of the
                             acquisition workstation.
                             b. With the TG18-LN-18 test
                             pattern displayed at full
                             resolution (one display pixel per
                             image pixel) on the acquisition
                             workstation display monitor(s)
                             and centered in the image display
                             portion of the display monitor,
                             the luminance (brightness) of
                             each display monitor, when
                             measured on the surface of the
                             display monitor, shall not be less
                             than 100 candela per square
                             meter at the center of the test
                             pattern (AAPM OR 3, para
                             4.3.4.2.1).
                             c. With the TG18-UNL-80 test
                             pattern displayed at full
                             resolution (one display pixel per
                             image pixel) on the acquisition
                             workstation display monitor(s)
                             and centered in the image display
                             portion of the display monitor,
                             the luminance uniformity of each
                             display monitor shall not exceed
                             30% when measured in
                             accordance with AAPM OR-3,
                             paragraph 4.4.4.1.1.




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                             d. The luminance ratio of each
                             acquisition workstation display
                             monitor shall not be less than 100
                             when determined by dividing the
                             luminance measured on the
                             surface of the display monitor at
                             the center of the displayed TG18-
                             LN-18 test pattern displayed at
                             full resolution (one display pixel
                             per image pixel) by the
                             luminance measured on the
                             surface of the display monitor at
                             the center of the displayed TG18-
                             LN-01 test pattern displayed at
                             full resolution (one display pixel
                             per image pixel) (AAPM OR 3,
                             para 4.3.4.2.1).
                             e. The vertical and horizontal
                             high contrast (black and white)
                             line pair patterns in the center and
                             at the four corners of the TG18-
                             QC image, when displayed at full
                             resolution (one display pixel per
                             image pixel), shall be distinctly
                             visible (AAPM OR 3, para
                             4.5.3.1).
                             f. The spatial accuracy of each
                             acquisition workstation display
                             monitor shall be less than or
                             equal to 5% when measured in
                             accordance with paragraph
                             4.10.1, AAPM OR-3.
         FACILITIES AND
         INFRASTRUCTURE
43       Power               Shall operate with 208VAC ±
                             10%, 3-phase 50/60 Hz ± 2 Hz, 8
                             percent line regulation from a
                             100 kW military Tactical Quiet
                             Generator (TQG). Specifications
                             for the current generator are
                             provided from Page 0006 00-25
                             of the Technical Manual (TM) 9-
                             6115-729-10 (see attachment).




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44       Input Service Entrance  a. Vendor shall provide a
                                 400Amp input service entrance
                                 (L1, L2, L3, G, N) with "cam-
                                 lock connection" with the
                                 location of the service entrance
                                 not compromising the integrity of
                                 the ISO Tactical Shelter.
                                 b. The input service entrance
                                 shall provide 120VAC, 60Amps
                                 to the Power Distribution Panel
                                 inside the ISO Tactical Shelter.
                                 c. Vendor shall provide a
                                 minimum of two (2) Ethernet
                                 ports (for Cat 6 cables) within the
                                 input service entrance.
45       Temperature and         Vendor shall provide a solution
         Humidity Management that will measure and display
                                 humidity and temperature within
                                 the ISO Tactical Shelter.
46       Power Filtration System Vendor shall provide a UL-listed
                                 power filtration system with
                                 Category "B" Transient Voltage
                                 Suppression System (TVSS)
                                 protection capabilities that will
                                 measure and display power
                                 phases (displays correct or
                                 incorrect phase cable connection)
                                 and ground integrity.
47       Service Entrance        Vendor shall provide the option
         Cables                  to provide 5 service entrance
                                 cables, from the Power
                                 Distribution Panel/Power
                                 Distribution Unit to the ISO
                                 Tactical Shelter, to support a
                                 400Amp Service entrance. The
                                 service entrance cables shall
                                 consist of:
                                 a. Gauge: 4/0 AWGT (Tactical-
                                 grade)
                                 b. Length: 25 feet
                                 c. Current Capacity: 400A
                                 d. Proper labeling to facilitate
                                 correct set up/connection




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                                    e. Male and female cable ends
                                    with the cam-lock style
                                    connection, UL 1691 Series 16
                                    cam-type 400-amp single pole
                                    connectors
48       Operating Console          Vendor shall provide a CT
         Uninterrupted Power        operator console uninterruptable
         Supply                     power supply (UPS) that allows
                                    no more than 30 minutes to save
                                    all studies in the event of an
                                    unexpected loss of primary power
                                    to the operator console.
49       ISO Tactical Shelter for   The vendor shall provide two
         the CT Scanner             offers relating to the ISO shelter.
         Configuration              First, the vendor shall provide an
                                    offer where the Government
                                    provides the vendor the ISO
                                    shelter and then vendor performs
                                    all required installation and
                                    modifications to the ISO shelter
                                    to provide an safe, operable
                                    system meeting all minimum
                                    requirements in this RFO.
                                    Second, the vendor shall provide
                                    an offer where the vendor
                                    supplies the ISO shelter and then
                                    the vendor performs all required
                                    installation and modifications to
                                    the ISO shelter to provide an
                                    safe, operable system meeting all
                                    minimum requirements in this
                                    RFO.
                                    The vendor shall perform all
                                    needed installation of the system
                                    inside a both Vendor and
                                    Government Furnished Two-
                                    Sided 3:1 Expandable ISO
                                    Tactical Shelter (Specifications
                                    of the Government ISO Shelter is
                                    NSN 5411-01-294-9866; Page 1-
                                    6 of TM 10-5411-200-14 of TM
                                    Two-sided Tactical Shelter
                                    attachment. The vendor shall also
                                    make all modifications to the ISO
                                    shelter to ensure a safe operable



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                        system meeting all minimum
                        requirements in this RFO.




                        Both the vendor and Government
                        shelter shall be ruggedized to
                        withstand transportation over
                        secondary roads, air transport,
                        rail head transport, and cross
                        country terrain without affecting
                        CT system functionality. This
                        will be validated using MIL STD
                        810G. The ISO shelter shall
                        include panels to support two (2)
                        Government Furnished
                        Equipment (GFE) Improved
                        Environmental Control Units
                        (IECU).
                        The vendor -provided ISO shelter
                        shall be NATO, Military
                        transportation compliant ISO
                        Tactical Shelter and HVAC
                        system. The vendor-provided
                        shelter shall also comply with the
                        ASTM E1978 (for 3:1 ISO
                        Tactical Shelter) Specifications.
    SUPPLY SUPPORT




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50       Repair Parts,          Vendor shall provide a full listing
         Accessories and        of repair parts (must include a
         Consumables Parts      description, weight, dimensions,
         Support                and price) and distinguish the
                                items to be considered high-
                                failure repair parts (identified by
                                OEM and Government SMEs).
                                Also, the vendor shall provide a
                                full listing of consumables,
                                accessories, and optional items.
                                All repair parts must be already
                                offered on the vendors Radiology
                                contract or be added to their
                                Radiology contract prior to
                                selection under this
                                standardization. Furthermore,
                                vendors must establish a
                                Radiology Program
                                Administrative ECAT contract
                                and agree to support the items
                                through ECAT for the life of the
                                standardization. For items that
                                are not TAA compliant, the
                                vendor must provide a plan of
                                support that involves an
                                automated ordering solution
                                through DLA. Any such items
                                that cannot be added to the IDIQ
                                contract (i.e. pricing cannot be
                                determined as fair and
                                reasonable, etc.) may result in
                                rejection of the offer.
         TECHNICAL DATA
51       Manual Documentation   Documentation including
                                Original Equipment
                                Manufacturer (OEM) operator,
                                service-technical manual(s),
                                videos (preferably wpm, mp3,
                                mp4), and schematics shall be
                                included on CD-ROM/ DVD,
                                uploaded to the system's
                                Operating System, web portal
                                (created and maintained by
                                vendor), and printed material.




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52       Training                  a. Radiologist/surgeon, operator,
         Documentation             and maintenance Applications
                                   training with teaching modules
                                   on CD-ROM or DVD
                                   b. Online training (or on DVD) to
                                   include all the Original
                                   Equipment Manufacturer (OEM)
                                   recommended preventive and
                                   corrective maintenance services
                                   necessary to operate, maintain,
                                   and sustain the system for the
                                   useful life of the system.
53       Proprietary Information   DoD CT Scanner operators and
         Access                    maintainers shall have
                                   unrestricted access to all
                                   proprietary application software,
                                   diagnostic software, operator, and
                                   service technical data required for
                                   the operation and maintenance of
                                   the system.
54       Manuals                   Each CT Scanner system shall
                                   include:
                                   a. One (1) hard copy of operator
                                   manual
                                   b. One (1) CD/DVD copy of
                                   operator manual
                                   c. One (1) hard copy of Service
                                   manual
                                   d. One (1) CD/DVD copy of
                                   Service Manual
                                   e. One (1) CD/DVD for the
                                   Operator and Biomedical
                                   Technician Training with
                                   copyright release
                                   f. All technical data will be
                                   reviewed in accordance with
                                   MIL-PRF-32216A
                                   EVALUATION OF
                                   COMMERCIAL OFF-THE-
                                   SHELF (COTS) MANUALS
                                   AND PREPARATION OF
                                   SUPPLEMENTAL DATA
         PACKAGING,
         HANDLING,
         STORAGE, &
         TRANSPORTATION

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55       Packaging              Shall have the complete CT
                                Scanner system (Gantry, Patient
                                Support Table, Operator Console,
                                Operator Console UPS, Operator
                                Console Shielding, Scatter
                                Radiation Shielding, Contrast
                                Media Injector, Radiologist
                                Workstation (if included), Power
                                Solutions, and Host & Server
                                CPUs) packaged and packed
                                safely and secured for
                                transportation. Shall be validated
                                via MIL STD 810G.
56       Packaging Label        The system packaging (i.e. ISO
                                Shelter, transport cases inside
                                ISO Shelter) shall have the
                                following markings:
                                a. National Stock Number(s) –
                                Actual NSN(s) to be provided at
                                time of award.
                                b. Item Unique Identification
                                (IUID) on each system/unit in
                                accordance with clause DFARS
                                252.211-7003, Item Unique
                                Identification and Valuation
                                (DEC 2013).
                                c. If more than 1 case/ container -
                                Number cases 1 of X, 2 of X, 3 of
                                X.
         SUPPORT
         EQUIPMENT
57       Performance Test,      a. Shall be capable of being
         Measurement and        serviced and repaired using the
         Diagnostic Equipment   test, measurement, and diagnostic
                                equipment (TMDE) included in
                                the x-ray verification system
                                furnished by the military.
                                CT Scanner TMDE/Toolbox
                                Equipment:
                                b. Army/Navy: Calibrator Set x-
                                Ray and Verification (NSN 6525-
                                01-589-7774); Tool Kit, Medical
                                Equipment Maintenance Unit
                                Level (NSN 5180-01-483-1431);
                                Tool Kit, Medical Equipment



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                                   Maintenance Repairmen is (NSN
                                   5180-00-611-7923)




                                   c. Air Force: RTI Barracuda
58       Performance Phantom       Vendor shall provide a
                                   performance phantom (head and
                                   body) with phantom storage case.
59       Test Pattern              The TG18-LN-01 through TG18-
         Accessibility             LN-18, TG18-UNL80, TG18-
                                   UNL10, and 1k version of the
                                   TG18-QC test patterns
                                   [American Association of
                                   Physicists in Medicine On-Line
                                   Report No. 3 (AAPM OR 3)]
                                   shall reside on the acquisition
                                   workstation and shall be easily
                                   retrievable for viewing at full
                                   resolution (one image pixel per
                                   display pixel) on all display
                                   monitors of the acquisition
                                   workstation. Vendor shall
                                   provide the software for test
                                   pattern calibration and install
                                   onto the acquisition workstation.
60       Support Equipment         Vendor shall provide any related
                                   items (tool kits, parts, and
                                   consumables) based upon the
                                   requirements defined in each
                                   Delivery Order. Vendor shall
                                   notify Government if a laptop is
                                   needed to perform diagnostic
                                   troubleshooting and/or repairs to
                                   the system.
61       Contrast Media Injector   a. Shall have the capability
                                   interface with a contrast media
                                   auto-injector both manually and
                                   auto-synchronization.




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                                b. Vendor shall include a contrast
                                media injector, with both manual
                                and auto-synchronization
                                capabilities, and includes the
                                required training, technical data,
                                support, maintenance, and
                                computer resources to operate
                                and sustain the system in a
                                deployed environment. The
                                contrast media injector shall meet
                                all the product support
                                requirements for the CT scanner
                                (Infrastructure, Supply Support,
                                Technical Data, Packaging
                                Handling Storage &
                                Transportation, Training &
                                Training Support, Maintenance &
                                Maintenance Planning,
                                Manpower & Personnel, and
                                Computer Resources).
         MAINTENANCE
         AND WARRANTY
         REQUIREMENTS
62       Maintenance Service    Vendor shall provide a full
         Agreement Contract     maintenance offering on their
         Pricing                Radiology contract prior to
                                standardization selection to
                                support the system, if required by
                                the Government. The
                                maintenance pricing shall include
                                a modular assembly (i.e. X-ray
                                tube head, detectors, server and
                                host computer) replacement
                                program for malfunctioning CT
                                scanner systems to facilitate their
                                repair.
63       Shared Maintenance     a. Shall include all glassware
         Services Contract      (Tube head).
         (CONUS for fixed, or
         deployable units)
                                b. Preventive Maintenance per
                                OEM requirement.
                                c. Annual Software and
                                Mechanical Calibration of the
                                system


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                                d. Technical Telephonic Support
                                line access (24 hours, 7 days a
                                week)
                                e. Clinical Application
                                Telephonic Support line access
                                (during business hours)
                                f. Shall provide the phone
                                number(s) and email address(es)
                                for the Points of Contact for
                                Technical and Clinical
                                Application support
                                g. First call for the DoD BMET
                                to look at the fault and attempt to
                                repair it first. If not able to
                                repair, then vendor provides
                                services.-When contacted for
                                assistance or service, shall
                                respond to the Gov’t within 24
                                hours
                                h. Concerning RMF, shall
                                comply with the “Continuous
                                Risk Management” section (page
                                15)
64       Shared Maintenance     a. Shall include all glassware
         Services Contract      (Tube head)
         (CONUS for Depot, or
         Storage)
                                b. Preventive Maintenance per
                                OEM requirement.
                                c. Annual Software and
                                Mechanical Calibration of the
                                system
                                d. First call for the DoD BMET
                                to look at the fault and attempt to
                                repair it first.
                                e. Technical Telephonic Support
                                line access (24 hours, 7 days a
                                week)
                                f. Shall provide the phone
                                number(s) and email address(es)
                                for the Points of Contact for
                                Technical support




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                              g. If the DoD BMET is not able
                              to repair, then vendor to provide
                              the repair services.-When
                              contacted for vendor repair
                              service, vendor shall respond to
                              the Gov’t within 72 hours
                              h. Concerning RMF, shall
                              comply with the “Continuous
                              Risk Management” section
65       Shared Maintenance   a. Shall include all glassware
         Services Contract    (Tube head)
         (OCONUS for
         deployed units)
                              b. Preventive Maintenance per
                              OEM requirement will be
                              performed by DoD BMET.

                              c. Annual Software and
                              Mechanical Calibration of the
                              system, primarily completed by
                              the DoD
                              d. Technical Telephonic Support
                              line access (24 hours, 7 days a
                              week)
                              e. Clinical Application
                              Telephonic Support line access
                              (during business hours)
                              f. Repairs will be performed by
                              DoD BMET (if necessary with
                              the help of the OEM via the
                              technical support line).
                              g. When contacted for assistance
                              or service, shall respond to the
                              Gov’t within 24 hours
                              h. Shall provide the phone
                              number(s) and email address(es)
                              for the Points of Contact for
                              Technical and Clinical
                              Application support
                              i. Concerning RMF, shall comply
                              with the “Continuous Risk
                              Management” section
66       Self-Diagnostics     Shall have self-test and
                              diagnostic capabilities that aid the
                              operator and maintainer to
                              troubleshoot a system fault.


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67       Diagnostic Software    Diagnostic software shall be
                                loaded and accessed via the CT
                                Scanner operating console (i.e.
                                Operating System).
68       Alerts, Recalls and    Vendor must have system in
         Field Change Order     place to notify the Defense
         Notifications          Logistics Agency and Services
                                Points of Contact of all field
                                change orders (a notification
                                from the vendor informing the
                                customer that a change for the
                                medical device system is
                                necessary), alerts, recalls and
                                equipment notices affecting the
                                system for the life cycle of the
                                system.
         MANPOWER AND
         PERSONNEL
69       Manpower               Shall be capable of being
                                unpacked, assembled, and made
                                ready for use by no more than 3
                                trained operators/maintainers in 4
                                hours or less.
         COMPUTER
         RESOURCES
70       Privacy Impact         Vendor shall complete the DoD
         Assessment             Privacy Impact Assessment (PIA)
                                application. (Government will
                                provide the application packet.)
71       Application Software   System shall include an
         Licensing              enterprise software license and
                                shall not require an external
                                device or key (such as a “dongle”
                                or soft key) to operate and
                                maintain the system.
72       Redundancy             Shall incorporate operator
                                console's CPU hard-drive and
                                power supply redundancies.
73       PACS Capabilities      The system must interface with
                                Commercial-Off-the-Shelf
                                Picture Archiving and
                                Communication System (PACS).
                                Retrospective and prospective
                                clip capture to internal drive or
                                removable media.


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 74       DICOM Capabilities        Vendor shall provide a copy of
                                    their DICOM conformance
                                    statement with their formal
                                    submissions. Devices are
                                    expected to follow standard
                                    DICOM protocols when
                                    transmitting images from a
                                    terminal (workstation) or from
                                    the modality directly.
 75       DICOM Capabilities        System shall be capable of
                                    transmitting static and dynamic
                                    images with calculation and
                                    demographic data via DICOM
                                    v3.0, or later versions.
 76       DICOM Capabilities        System shall be capable of
          (Send)                    sending Images automatically to
                                    at least two preset DICOM
                                    destinations (I.E. PACS, Dry
                                    Laser Imager, PACS Work
                                    Station, QC Review Work
                                    Station).
 77       DICOM Capabilities        System shall be capable of
          (Worklist)                working with a DICOM Modality
                                    Worklist.
 78       DICOM Capabilities        System shall have the capability
          (Print)                   to DICOM print (send images to
                                    Dry Image Printer).
 79       DICOM Capabilities        DICOM Store shall have multiple
          (Store)                   (>2) storage or archive locations
                                    and a user shall be able to
                                    actively select the location(s).
 80       DICOM Capabilities        System shall allow QA/QC
          (Data Management)         images before sending to archive.
 81       DICOM CD/DVD              System shall create a CD/DVD of
          Format                    examinations (scans) that contain
                                    an embedded DICOM viewer.
 82       DICOM Capabilities        DICOM Application software
          (Application              shall be based upon "open
          Architecture)             architecture" (HL7, DICOM, and
                                    IHE).


Z. Service Unique Requirements

The following table lists the differences in minimum requirements between the two Services.


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                               Air Force                    Army                   Navy
Radiologist
                                                           Required              Required
Workstation
Reconstruction             Shall provide, at a
                                                    Shall provide, at a      Shall provide, at a
Packages                     minimum, the
                                                      minimum, the             minimum, the
                               following
                                                        following                following
                             reconstruction
                                                      reconstruction           reconstruction
                            packages: facial,
                                                     packages: head,          packages: head,
                           head, neck, dental,
                                                   neck, bone, vascular,    neck, bone, vascular,
                             bone, vascular,
                                                        and spinal               and spinal
                           cardiac, and spinal
Upgrade                                              Shall provide, at a     Shall provide, at a
Reconstruction                                         minimum, the            minimum, the
Options                                                  following               following
                                                       reconstruction          reconstruction
                                                      packages: facial,       packages: facial,
                                                     cardiac, and dental     cardiac, and dental
                                                       reconstruction          reconstruction
                                                        applications            applications
Upgrade Radiologist
                                Required                     ---                     ---
Workstation Options

(c.) DoD Cybersecurity/Information Assurance (IA)/Risk Management Framework
(RMF):


   •   Vendors shall only offer items, which already have an Authorization to Operate (ATO),
       or items for which the Vendor agrees to go through the IA approval process and obtain an
       RMF ATO. The CT imaging system, any other third party software and associated
       devices will each need an ATO.

   •   Any offered system must meet the below DoD Cybersecurity/Risk Management
       Framework (RMF) and below Army Information Assurance (IA) requirements. Vendors
       are required to provide a statement with their quote that they agree to the Service
       Cybersecurity/IA Requirements, HIPAA requirements and B2B requirements that
       are attached to this RFO.

   •   Vendors are required to provide a completed Joint Medical Device Risk Assessment
       Questionnaire (v1.1) and a Nessus vulnerability scan for the offered system along with
       the their offer.

   •   RMF shall be evaluated as part of the System Capability Factor. Vendors must meet all
       the below RMF minimum requirements along with any additional RMF requirement
       listed in the minimum requirements section (5.)(c.) above. Vendors may be assigned
       strengths if they exceed any minimum requirement and/or meet any objective.


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        Additionally, weaknesses may be assigned based on the vendors responses in the Joint
        Medical Device Risk Assessment Questionnaire (v1.1) and/or the Nessus vulnerability
        scan. RMF weaknesses may include; but are not limited to; deficiencies in architecture or
        software versions, other services having cancelled RMF efforts due to vendor non-
        responses or inability to get an RMF, system having received a DATO from any service,
        and deficiencies that cannot be mitigated/accepted.

RFO        DESCRIPTION OF             MINIMUM REQUIREMENT                          OBJECTIVE
SOW        MINIMUM
           REQUIREMENT
           AND/OR OBJECTIVE
RMF 1      Cybersecurity / Remote     System shall be capable of software
           Diagnostic Access          update by the users remotely. Allow
                                      “Remote Diagnostic Access” to be
                                      performed via Remote Diagnostic
                                      Software.
RMF 2      Cybersecurity / Remote     Shall communicate with PACS server, on
           Diagnostic Access          an isolated accreditation boundary,
                                      whether physical or logically.

RMF 3      Cybersecurity              Ports, Protocols, and services must
                                      conform to DoD, DISA and
                                      MEDCOM/DHA standards.
RMF 4      Cybersecurity              The system must be IPv6 capable.
RMF 5      Cybersecurity              The system must be PKI capable.
RMF 6      Authority to Operate       Vendor agrees to comply with IA Terms        a. Undergoing a RMF effort
           (ATO)                      and Conditions necessary to complete         and system is past Step 3 of
                                      RMF IV&V process and achieve a               RMF is a slight strength;
                                      system ATO.                                  b. Vendor having RMF ATO
                                                                                   is a significant strength.

RMF 7      Joint Medical Device       Vendor has provided a completed Joint        Vendor does not have a RMF
           Risk Assessment            Medical Device Risk Assessment               ATO, but Technical Scans
           Questionnaire (v1.1) and   Questionnaire (v1.1) for the offered         (Nessus, SCAP, and
           Nessus Scan                system along with Nessus Scan of the         Checklists) provided, with no
                                      system                                       open Very High or High
                                                                                   vulnerabilities listed.
RMF 8      Operating System           OS with current commercial support.          OS with 72 months of
                                                                                   commercial support.
RMF 9      Application Major          All major component software                 All major component
           Components                 applications (SQL, IIS, .Net, etc.) have     software applications (i.e.
                                      current commercial support.                  SQL, IIS, .Net, etc.) have 72
                                                                                   months of commercial
                                                                                   support.
RMF 10     Software Inventory         Vendor provides full software inventory
                                      including associated ports, protocols, and
                                      support end dates.




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 RMF 11   Vulnerability             Vendor has established policies and         Vendor has established
          Management                procedures to distribute and install        policies and procedures to
                                    security updates within a documented        distribute and install security
                                    timeframe.                                  updates. All critical security
                                                                                patches
                                                                                approved/distributed/installed
                                                                                within 30 days.

 RMF 12   Data At Rest Encryption   All PHI/PII on the system is encrypted.     All PHI/PII on the system is
                                                                                encrypted using FIPS 140-2
                                                                                level encryption.

 RMF 13   Auditing                  System is capable of auditing system        a. Display/presentation of
                                    events to include:                          data;       b. Audit trail
                                    a. login/logout information                 events include User ID
                                    b. The creation, modification and           information;
                                    deletion of PHI/PII                         c. Audit trails are linked to
                                    c. The import and export of data to and     enterprise date and time;
                                    from removable media.                       d. Audit trail events include
                                    d. Audit trail events include the logging   Remote Service activity;
                                    of the execution of privileged functions.   e. Ability to link auditing
                                                                                information to a site owned
                                                                                central log monitoring
                                                                                system.

 RMF 14   User Accounts             All general users of the system must have   Admin accounts supports
                                    individual user IDs to log into the         FIPS 201 compliant
                                    application. All Admin accounts are         multifactor DoD CAC/PIV
                                    separate from general user level access.    based authentication.
                                    All accounts support DoD password
                                    complexity requirements.




   •   Submitting a quote for any requirement under this initiative constitutes full agreement to
       all specific Service IA requirements and the attached IA document.
   •   Failure to agree to the attached Army IA requirements and to provide a completed Joint
       Medical Device Risk Assessment Questionnaire shall result in rejection of the vendors
       quote. Failing to disclose that a system cannot meet IA requirements, failure to meet
       certification timeframes or failure to receive ATO may result in termination for cause in
       accordance with FAR 52.212-4(m).


K. Army Information Assurance (IA) requirements (21 AUG 2017; Modified for the CT
Scanner Modernization Effort to 9 years vice 6 years and “Government vice “Army”):

A. GENERAL OVERVIEW OF GOVERNMENT CYBERSECURITY REQUIREMENTS

1. New Equipment/Product (systems, equipment and software under RMF): The Vendor
shall agree to the Government Cybersecurity/RMF requirements, receive an Authority to Operate


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(ATO), and maintain the ATO for 9 years or as long as the vendor commercially supports the
equipment/product, whichever is longer.

The vendor shall maintain an ATO on all equipment/product versions owned by the Government
and originally purchased through the vendors DLA contract. If a vendor cannot support the ATO
for all Government owned versions of the equipment/product, the vendor can meet this
requirement by offering to provide all upgrades to the equipment/product that are required to
maintain the ATO for 9 years from date to ATO, either at no cost to the Government or at a fixed
price that is included and evaluated as part of the vendor’s new equipment/product offer.
Vendors who cannot support all versions of the equipment/product and cannot offer upgrades
required to maintain the ATO for 9 years shall not be considered.

During the period of time the vendor must maintain the ATO; 9 years or as long as the vendor
commercially supports the equipment/product, whichever is longer; the vendor shall provide all
required cybersecurity patches/updates. If the patches are separate from updates as required by
the vendor’s contract, the vendor shall offer the cybersecurity patches under a maintenance
offering on their DLA contract that provides for all required cybersecurity patches/updates
needed to maintain the ATO. Maintaining the RMF ATO shall be included as part of the vendors
warranty period.

2. Maintenance: Vendors must agree to the Government Cybersecurity requirements for all
systems purchased after June 6, 2017, systems under a DIACAP ATO or systems in process for
RMF ATO approval. Vendors may otherwise request an exception to cybersecurity policy.
Exceptions to cybersecurity policy must be requested from the MTF purchasing the maintenance
and any exception are contingent on approval by local and MEDCOM CIO and Approving
Official (AO).

3. Upgrades: Vendors must agree to the Government Cybersecurity requirements for all
upgrades. Although there is an exception to cybersecurity policy process for upgrades similar to
maintenance, the Government does not envision granting exceptions to cybersecurity policy and
would instead replace the system in lieu of approving upgrades that do not comply with
cybersecurity policy.

B. Government Cybersecurity/Risk Management Framework (RMF) Requirements

1 System Security Requirements

   1.1 The vendor shall submit to the Government, included in the quote, the blue section of the
   Medical Device Cybersecurity Assessment (Questionnaire), which is provided by



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government, as well as Nessus Scans. A Nessus scanner must be procured by the vendor, at
their own cost, in order to comply with RMF requirements.

1.2   Vendor agrees to comply with security regulations and guidance listed in attached
      Appendix A and all Risk Management Framework (RMF) requirements.

1.3   Failure to meet the requirements may result in termination of the delivery order for
      cause, in accordance with FAR 52.212-4(m).

1.4   The vendor device or system shall pass pre-validation screening (Vulnerability scans
      utilizing Nessus, and SCAP scans), administered within six (6) months of contract
      award that will be conducted by Government, and must meet criteria listed below:

           1.4.1 No unmitigated Very High or High Severity/ Category I (CAT I),
                 vulnerabilities as described in the appropriate Defense Information System
                 Agency (DISA) Security Technical Implementation Guides (STIGs) located
                 on http://iase.disa.mil/stigs/Pages/index.aspx
           1.4.2 No unmitigated Moderate Severity/Category II (CAT II), vulnerabilities as
                 described in the appropriate Defense Information System Agency (DISA)
                 Security Technical Implementation Guides (STIGs) located on
                 http://iase.disa.mil/stigs/Pages/index.aspx
           1.4.3 No unmitigated Very High or High Severity/ Category I (CAT I)
                 vulnerabilities from Nessus vulnerability scans.
           1.4.4 No unmitigated Moderate Severity/ Category II (CAT II) vulnerabilities
                 from Nessus vulnerability scans.

1.5   The vendor shall mitigate all Very High, High, and Moderate Severity/CAT I and CAT
      II vulnerabilities discovered during the Assessment and Authorization (A&A) process
      according to a schedule published by Government.

1.6   The vendor shall appoint a vendor point of contact responsible for the cybersecurity of
      the vendor device or system throughout the lifecycle of the system. The vendor shall
      provide Subject Matter Experts (SMEs) to support all assessments of contracted
      products and materials, and meet required deliverable timelines.

1.7   The vendor shall obtain a recommendation of Authority to Operate (ATO) as
      determined by a Government appointed third party validator within twelve (12) months
      of contract award.




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1.8   The vendor shall not make any delivery and shall not receive payment for the system
      until the ATO is granted. Receiving the ATO document from the U.S. Government
      shall constitute permission to perform on the order and to proceed with delivery. All
      delivery dates shall be reset in accordance to contract and in days after the date the
      ATO is communicated in writing to the vendor. Delivery may take place prior to ATO
      only if written permission is provided by the DLA Contracting Officer.

1.9   Pursuant to subsequent warranty period and Service Maintenance Agreements (SMA),
      the vendor shall, after the issuance of an ATO, ensure that the vendor’s device or system
      maintains its ATO for 9 years or as long as the vendor commercially supports the
      equipment/product, whichever is longer.

      The vendor shall maintain an ATO on all equipment/product versions owned by the
      Government and originally purchased through the vendors DLA contract. If a vendor
      cannot support the ATO for all Government owned versions of the equipment/product,
      the vendor can meet this requirement by offering to provide all upgrades to the
      equipment/product that are required to maintain the ATO for 9 years from date to ATO,
      either at no cost to the Government or at a fixed price that is included and evaluated as
      part of the vendor’s new equipment/product offer. Vendors who cannot support all
      versions of the equipment/product and cannot offer upgrades required to maintain the
      ATO for 9 years shall not be considered.

      During the period of time the vendor must maintain the ATO; 9 years or as long as the
      vendor commercially supports the equipment/product, whichever is longer; the vendor
      shall provide all required cybersecurity patches/updates. If the patches are separate from
      updates as required by the vendor’s contract, the vendor shall offer the cybersecurity
      patches under a maintenance offering on their DLA contract that provides for all
      required cybersecurity patches/updates needed to maintain the ATO. Maintaining the
      RMF ATO shall be included as part of the vendors warranty period. For
      updates/patches, executable files should be distributed by the manufacturer accordingly,
      or implemented by the manufacturer technical staff dependent on Service Agreement
      processes.

1.10 The vendor shall establish appropriate administrative and technical safeguards to ensure
     the confidentiality, integrity, and availability of Government data under their control.

1.11 The vendor shall notify the PMO and Contracting Officer POCs in writing with any
     inabilities to comply with DoD security requirements. Vendor will provide anticipated
     costs and timelines required to address vulnerabilities in question.



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     1.12 The vendor shall contact the IA/RMF Office Representative, no later than 5 business
          days after delivery order issuance or contract award, to start the process. Failure to do
          so would be considered a vendor caused delay.

2 RMF Timeframes

The following table provides an overview of the entire Process to obtain approval under
Government Cybersecurity requirements. Vendor actions must start as cited in the number of
days after date of order column noted below and be completed in the number of days listed
below in the Duration column.

ID      Step Name (Action    Duration            Number of Days             Responsible Party
        or Deliverable        (Days)            After Date of Order
1       1 Categorization   22 Total Days
2       1.1 Vendor RMF           1                           5              GOVERNMENT
        Kickoff Meeting
        (Vendor must
        contact the RMF
        Office Rep)
3       1.2 EDMS                10                           5              GOVERNMENT
        Paperwork and
        Account Creation
4       1.3 EDMS                 1                           5              GOVERNMENT
        Functionality
        Briefing
5       1.4 Documentation        1                           5              GOVERNMENT
        Templates to
        Vendor
6       1.5                      5                           5              VENDOR
        Hardware/Software
        Document
        Production
7       1.6 STIG Review          2                           10             GOVERNMENT
8       1.7 System               2                           12             GOVERNMENT
        Categorization
9       1.8 Categorization       5                           17             GOVERNMENT
        Memo Approval
10      1.9 Security             3                           12             GOVERNMENT
        Assessment Plan
        Creation


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11    1.10 SAP Sent to            0                         15             GOVERNMENT
      Vendor
12    1.11 Contact 3rd            0                         15             GOVERNMENT
      Party IV&V
13    2.Control Selection    6 Total Days
14    2.1 System eMASS            1                         12             GOVERNMENT
      Registration
15    2.2 eMASS Control           1                         12             GOVERNMENT
      Selection
16    2.3 Implementation          5                         17             GOVERNMENT
      Plan Completion
17    3. Implementation       130 Total
                                Days
18    3.1 Documentation                                                    GOVERNMENT
      Creation and
      Review
19    3.1.1 Vendor               90                         5              VENDOR
      Control and
      Artifact
      Documentation
20    3.1.2 PMO Control          55                         40             GOVERNMENT
      Documentation
21    3.1.3                       0                         95             GOVERNMENT
      Documentation
      100% Complete
      (Confirm IV&V)
22    3.2 Scanning               120                        16             VENDOR
23    3.2.1 Vendor Initial        10                        16             VENDOR
      Scan
24    3.2.2 ICS Review            2                         26             GOVERNMENT
      of scans and
      Vulnerability
      Report
25    3.2.3 Vendor               110                        27             VENDOR
      Technical
      Remediation
26    3.3 DHA                    60                         77             GOVERNMENT
      Registration
27    3.3.1 DHA A&A               1                         77             GOVERNMENT
      Request

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28    3.3.2 Submit               10                      77           GOVERNMENT
      Security Plan for
      Approval
29    3.4 Submission to           0                      137          GOVERNMENT
      IV&V
      Team/Submit
      IV&V Request
      through Portal
30    4. Assess               65 Total
                               Days
31    4.1 Packet Review          29                  138           GOVERNMENT
      by IV&V Team
32    4.2 Coordination             0                 165           GOVERNMENT
      Meeting
33    4.3 Onsite I&V               5                 168           GOVERNMENT
34    4.4 SCA-V Packet            30                 173           GOVERNMENT
      Review
35    4.5 SCA-V SAR                0                 203           GOVERNMENT
      Issuance
36    5. Packet                60 Total
      Authorization             Days
38    5.1 Vendor                  30                 173           VENDOR
      Remediation
      5.1.1 SAR                   10                 203           GOVERNMENT
      Review/Concurrenc
      e
39    5.2 Submit to               10                 213           GOVERNMENT
      SCAR
40    5.3 Submit to SCA            5                 223           GOVERNMENT
41    5.4 Submit to AO             5                 228           GOVERNMENT
42    5.5 AO signature             0                 233           GOVERNMENT
Note: Not all above actions occur in a sequential manner as some actions may be worked
concurrently.

3 Assessment and Authorization (A&A)

       3.1 The vendor shall submit all RMF required documentation, as specified by
           Government Reps for review and approval, no later than four (4) months after request
           by the Government.



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       3.2 The vendor shall obtain approval from the Government, any vendor developed RMF
           policies, plans, and procedures prior to implementation.

       3.3 The vendor shall provide any additional documentation required by the Government
           for completion of the A&A process within thirty (30) business days of request by the
           Government.

       3.4 The vendor shall provide technical scans within one (1) month of the A&A kickoff
           meeting.

       3.5 The vendor shall provide updated technical scans on a monthly basis, on the 10th day
           of each month until an ATO is granted.

       3.6 The vendor shall ensure that the vendor device or system is capable of supporting the
           use of DISA approved intrusion detection and prevention, antivirus, and antimalware
           applications that are approved at the time of ATO issuance. The vendor shall provide
           technical specifications that clearly demonstrate whether the proposed solution can
           integrate and support either the full security suite or the individual components (e.g.
           DLP, IPS, Antivirus, etc.) without performance degradation of the medical
           system/device. In cases where the operation of security applications are not
           technically achievable, the vendor shall provide detailed justification and a Plan of
           Actions and Milestones (POA&M) describing steps towards compliance with this
           requirement.

       3.7 The vendor shall ensure that the vendor device or system is configured in such a way
           that allows the updating of malware definition signatures on a scheduled basis.
           Scanning shall encompass the entire system (file system, operating system, real-time
           processes) by default. In cases where scanning of the entire system may negatively
           affect its operation, the vendor shall provide a detailed list of exclusions with
           justifications.


4 Privileged User Training and Certification Requirements

If a vendor requires a B2B, access, etc to government networks to maintain, analyze, etc, their
equipment/product, they must adhere to the following requirements:

Information Assurance Contractor Training and Certification. Contractors requiring a privileged-
level account for administrative/maintenance support of systems/applications on the Government
network will meet Government requirements for a privileged-level account before being granted
a network account. Requirements include:

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•Cyber (Information assurance (IA)/information technology (IT)) certification. Per DoD
8570.01-M , DFARS 252.239.7001 and AR 25-2, the contractor employees supporting
Cyber (IA/IT) functions shall be appropriately certified upon contract award. Contractors
will be defined at Information Assurance Technical level I (IAT – II) and be required to
meet minimum Professional Baseline certifications at the time of contract award.
Contractors will be given six (6) months to meet Computer Environment (CE) and Cyber
Security Fundamental training requirements. Not meeting the requirements in accordance
with DoD 8570.01-M will result in the contractor account and access being ‘Disabled’ or
‘Deleted’ until such time as the conditions of this contract are met.

•Background Investigation. NACI or above is required. Vendors should email:
usGovernment.jbsa.medcom.list.medcom-information-assurance@mail.mil to obtain
guidance on the process

•Professional Baseline Certification. The minimum Professional Baseline certification for
IAT-II is CompTIA Security+. Higher certifications (GSCL, CISM, CISSP, etc.) will
satisfy this requirement.

•Computer Environment (CE) Certification. Computer Environment (CE) certifications
are determined by the role of the contractor and must be met within six months of delivery
order issuance. Contractors working on servers are encouraged to have a Microsoft 2008
Server or 2012 Server certification. Contractors working on End-User devices are
encouraged to have a professional certification that coincides with the technology inherent
in the system (i.e. MCSE, CCNA, RHCSE, etc.). The CompTIA A+ certification will also
satisfy the CE certification requirement.

•IA Training Requirements. Contractors will meet minimum training requirements within
six months of contract award. Contractors will be required to complete Cyber Security
Fundamentals located at URL: https://ia.signal.Government.mil/IAF/

•Two-Factor Authentication. Contractors will authenticate using two-factor authentication.
The only method for authenticating is the Common Access Card (CAC).

•Government Training Certification Tracking System (ATCTS). Contractors with a need
for elevated privileged-level access will be defined to ATCTS.
https://atc.us.Government.mil/iastar/regulations.php

•Network Account Request Package (Authorized & Privileged). The contractor will
submit a request package through either the ITC One-Stop Shop for contractors requiring


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on-site access or through the Information Assurance/Cyber Security Branch for
contractors requiring remote access to a Government network. Remote access must be
through a Defense Health Agency (DHA) Business-To-Business (B2B) solution. Vendors
should email: usGovernment.jbsa.medcom.list.medcom-information-assurance@mail.mil
to obtain remote access through DHA, for Government requirements.

•IA Training. DoD Cyber Awareness Challenge Training must be completed by all
contractor employees and associated sub-contractor employees prior to issuance of
network access and annually thereafter. DoD Cyber Awareness Challenge Training is
available at the following website: https://ia.signal.Government.mil/DoDIAA/

•Acceptable Use Policy (AUP). All vendors/contractors will sign/acknowledge the
Government Standard Acceptable Use Policy (AUP) prior to being granted a Government
network account. The Government Standard AUP is available at the following website:
https://atc.us.Government.mil/iastar/docs/aup.pdf


5 Warranty and Post-Warranty Service Maintenance Agreement Cybersecurity
Requirements

1 Continuous Risk Management
   1.1 The vendor shall maintain a duplicate of the fielded equipment/product falling under
        one authorization; for testing in a vendor supplied lab environment at vendor location
        for 9 years from initial ATO approval or as long as the vendor commercially supports
        the equipment/product, whichever is longer. The vendor shall maintain a duplicate of
        the equipment/product for each version owned by the Government and originally
        purchased through the vendors DLA contract. The duplicate equipment/product does
        not have to be a physical duplication and can just be virtual duplication, as long as all
        components within the authorization boundary are represented

           1.1.1 The vendor shall maintain the duplicate system or device in operational
                 condition with the latest security patches installed.

    1.2    The vendor shall update all ATO required supporting documentation in the event of a
           system policy, procedural, logical or technical changes to the system.

    1.3    The vendor shall maintain the authorized security configuration and notify the
           government within forty eight (48) hours of any major changes for review. A major
           upgrade such as major software or hardware revision must be reassessed for ATO.
           Vendor shall support reauthorizations due to major upgrades.


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    1.4   The vendor shall ensure the vendor’s device or system is in compliance with the
          Department of Defense (DoD) Information Assurance Vulnerability Management
          (IAVM) program upon each deployment.

    1.5   The vendor shall ensure any new deployment (including rebuilds) deploy with a fully
          patched, accredited version maintained in a lab environment.

    1.6   The vendor shall make the duplicate device or system available for periodic security
          reviews, within forty five (45) business days of notification by Government. The
          vendor shall perform monthly vulnerability scans using the most recent and updated
          version of approved DoD scan tools.

    1.7   Vendor shall maintain system and update to comply with updated STIGS as made
          available by the Government within three (3) months of notification by the
          Government.

    1.8   The vendor shall provide vulnerability scan and SCAP scan results to Government on
          a monthly basis. Vendor shall provide raw scan results and administrative reports no
          later than the 10th calendar day of each month.

    1.9   The vendor shall close all discovered vulnerabilities within three (3) months of
          discovery.

    1.10 The vendor shall submit to Government detailed explanations for the inability to close
         discovered vulnerabilities.

    1.11 The vendor shall submit to Government for approval of any mitigation that addresses
         any open vulnerabilities.
    1.12 The vendor shall review all required policies, plans, and procedures documentation
         on an annual basis and submit changes to Government for approval.

    1.13 The vendor shall use the Government approved method for remote access
         administration (DISA B2B) of system or device.


6 Appendix A: Cybersecurity Regulations and Guidance

1. Cybersecurity Regulations and Guidance




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The vendor shall use and comply with the most recent published versions as of the date of
contractual agreement of the following references as well as all regulations or guidance
referenced within those publications:
       a. United States Law
               i. The Health Insurance Portability and Accountability Act of 1996 (HIPAA)
               ii. The Federal Information Security Management Act (FISMA)
               iii. The E-Government Act of 2002

       b. Office of Management and Budget (OMB)
               i. The following publications are located at
               https://www.whitehouse.gov/omb/agency/default
               ii. Circular A-130
               iii. Guidance M-05-24, Implementation of Homeland Security Presidential
               Directive (HSPD) 12-Policy for a Common Identification Standard for Federal
               Employees and Vendors

       c. National Institute of Standards and Technology (NIST)
               i. The following publications are located at http://www.nist.gov/publication-
               portal.cfm
               ii. NIST Special Publication (SP) 800-37 – Guide for Applying the Risk
               Management Framework (RMF) to Federal Information Systems
               iii. NIST SP 800-53 – Security and Privacy Controls for Federal Information
               Systems and Organizations

       d. Federal Information Processing Standards (FIPS)
              i. The following publications are located at http://www.nist.gov/itl/fipscurrent.cfm
              ii. FIPS Publication (FIPS PUB) 140-2, Security Requirements for Cryptographic
              Modules
              iii. FIPS PUB 199 – Standards for Security Categorization of Federal Information
              and Information Systems
              iv. FIPS PUB 201-2, Personal Identity Verification of Federal Employees and
              Vendors

       e. Department of Defense (DoD)
              i. The following publications are located at http://www.dtic.mil/whs/directives/
              ii. DoD Instruction 5200.2, DoD Personnel Security Program (PSP)
              iii. DoD Instruction 8500.1, Cybersecurity
              iv. DoD Instruction 8520.02, Public Key Infrastructure (PKI) and Public Key
              (PK) Enabling
              v. DoD Instruction 8510.01, Risk Management Framework Process (RMF)


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              vi. DoD Instruction 8551.1, Ports, Protocols, and Services Management (PPSM)
              vii. DoD Instruction 8580.02, Security of Individually Identifiable Health
              Information in DoD Health Care Programs
              viii. DoD Instruction 6025.18, Privacy of Individually Identifiable Health
              Information in DoD Health Care Programs
              ix. DoD Directive 5400.11, DoD Privacy Program
              x. DoD Manual 5400.11-R, Department of Defense Privacy Program
              xi. DoD 8570.01-M Information Assurance Workforce Improvement

G. Environmental Minimum Requirements

Additionally, the following environmental requirements shall be met by any offered system and
shall be part of the First Article Testing.


(1) LOW TEMPERATURE STORAGE AND OPERATION

Shall determine the resistance of the CT System to thermal effects induced by storage and
operation in a low temperature climate. System will be deemed to meet minimum
requirements if it remains 100% operable after being subjected to this test.

Test Procedures
       a. General
       Testing will be conducted in accordance with MIL-STD-810G, Test Methods 502.6,
       Procedures I and II.

       b. Test Preparations
               (1) The system will be positioned in the environmental chamber. Thermocouples
               will be positioned throughout the system to record temperatures for information
               and troubleshooting purposes. A transducer will be used to measure the chamber
               humidity. To minimize power fluctuations and isolate system performance,
               commercial power will be used for the chamber tests unless otherwise directed. An
               Advanced Digital Modular Acquisition System (ADMAS) will be used to measure
               system power consumption.

              (2) The system will be deployed to the operational configuration; the water
              phantom or surrogate will be used to perform operational images for comparison to
              baseline images to determine degradation of the system function before
              conditioning of the chamber begins.

              (3) Following a successful system check, the system will be prepared for operations
              in low temperature storage and operation in accordance with the Technical Manual
              (TM).

       c. Test Conduct


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       (1) Storage, Test Method 502.6, Procedure I (Transport Mode)
               (a) The environmental chamber will be adjusted to -0 °F. The CT System
               will be exposed to this temperature until the temperature of all
               thermocouples stabilizes at this temperature.
               (b) The ambient temperature within the chamber will be decreased until a
               temperature of -40 °F is achieved and all CT System thermocouples
               stabilize within 5 °F of this temperature (between --35 and -45 °F). After
               stabilization, this temperature condition will be maintained for 24 hours.
               During this period, the sets will be inspected for evidence of distortion,
               cracking or peeling of components, and leaks in fuel, lubrication, and
               cooling systems.
               (c) The chamber temperature will be adjusted to 0oF. This temperature will
               be maintained for 2 hours after thermal equilibrium of the component with
               greatest thermal lag is achieved.
               (d) The chamber temperature will be gradually raised to ambient; the CT
               system shall be stabilized at this temperature for 12 hours. The CT system
               will be deployed to the operational configuration and will perform
               validation images at this temperature for comparison to the baseline images.

        (2) Operations, Test Method 502.6, Procedure II (Operational Mode)
              (a) The improved environmental conditioning unit (IECU) will be activated
              during all operational temperature actions. The thermostat of the IECU will
              be adjusted to stabilize the interior temperature of the ISO shelter within the
              specified range.

               (b) The chamber temperature will be decreased to -25oF. After the chamber
               stabilizes at -25oF, the operational portion of testing will begin. The
               chamber will remain at -25oF during the operational testing.

               (c) The IECU thermostat will be adjusted to maintain the interior
               temperature of the ISO shelter at the minimum required temperature.

               (d) The CT System will be energized to ensure proper operation at
               temperature; if the system is not operational, the interior temperature will
               be raised incrementally by 3oF and allowed to stabilize until complete
               function of the CT system is possible.

               (e) The water phantom or surrogate will be used to perform operational
               images for comparison to the baseline images to determine degradation of
               the system function.

               (f) The IECU thermostat will be adjusted to maintain the interior
               temperature of the ISO shelter at the maximum required temperature.




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                     (g) The CT System will be energized to ensure proper operation at
                     temperature; if the system is not operational, the interior temperature will
                     be decreased incrementally by 3oF and allowed to stabilize until complete
                     function of the CT System is possible.

                     (h) The water phantom or surrogate will be used to perform operational
                     images for comparison to the baseline images to determine degradation of
                     the system function.

             (3) After the storage and operation periods, the components/system will be visually
             inspected. The water phantom or surrogate will be used to perform validation
             images for comparison to the baseline images to determine degradation of the
             system. All physical changes will be recorded.


(2) HIGH TEMPERATURE STORAGE AND OPERATION

      Shall determine the resistance of the CT System to thermal effects induced by storage and
      operation in a high temperature climate. System will be deemed to meet minimum
      requirements if it remains 100% operable after being subjected to this test.

Test Procedures
       a. General
              Testing will be conducted in accordance with MIL-STD-810G, Test Methods
              501.6, Procedures I and II.

      b. Test Preparations
              (1) The system will be positioned in the environmental chamber. Thermocouples
              will be positioned throughout the system to record temperatures for information
              and troubleshooting purposes. A transducer will be used to measure the chamber
              humidity. To minimize power fluctuations and isolate system performance,
              commercial power will be used for the chamber tests unless otherwise directed. An
              ADMAS will be used to measure system power consumption.

             (2) The system will be deployed to the operational configuration; the water
             phantom or surrogate will be used to perform operational images for comparison to
             baseline images to determine degradation of the system function before
             conditioning of the chamber begins.

             (3) Following a successful system check, the system will be prepared for operations
             in high temperature storage and operation in accordance with the TM.

      c. Test Conduct
              (1) Storage, Test Method 501.6, Procedure I (Transport Mode)
                      (a) The ambient temperature within the chamber will be increased until a
                      temperature of 160oF is achieved and all thermocouples stabilize within 5oF


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               of this temperature (between 155 and 165). After stabilization, this
               temperature condition will be maintained for 24 hours. During this period,
               the sets will be inspected for evidence of distortion, cracking or peeling of
               components, and leaks in fuel, lubrication, and cooling systems.
               (b) The chamber temperature will be gradually decreased to ambient; the
               ISO shelter shall be stabilized at this temperature for 12 hours.
               (c) The water phantom or surrogate will be used to perform operational
               images for comparison to the baseline images to determine degradation of
               the system function.

        (2) Operations, Test Method 501.6, Procedure II (Operational Mode)
              (a) The improved environmental conditioning unit (IECU) will be activated
              during all operational temperature actions. The thermostat of the IECU will
              be adjusted to stabilize the interior temperature of the ISO shelter within the
              specified range.

               (b) The chamber temperature will be increased to 120oF. The temperature
               will be maintained at 120oF throughout testing

               (c) The IECU thermostat will be adjusted to maintain the interior
               temperature of the ISO shelter at the minimum required temperature.

               (d) The CT System will be energized at this temperature; if the system is
               not operational, the interior temperature will be raised incrementally by 3oF
               and allowed to stabilize until complete function of the CT scanner system
               is possible.

               (e) The water phantom or surrogate will be used to perform operational
               images for comparison to the baseline images to determine degradation of
               the system function.

               (f) The IECU thermostat will be adjusted to maintain the interior
               temperature of the ISO shelter at the maximum required temperature.

               (g) The CT System will be energized at this temperature; if the system is
               not operational, the interior temperature will be decreased incrementally by
               3oF and allowed to stabilize until complete function of the CT System is
               possible.

               (h) The water phantom or surrogate will be used to perform operational
               images for comparison to the baseline images to determine degradation of
               the system function.

       (3) After the storage and operation periods, the components/system will be visually
       inspected. The water phantom or surrogate will be used to perform validation


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              images for comparison to the baseline images to determine degradation of the
              system. All physical changes will be recorded.


(3) HIGH TEMPERATURE/SOLAR RADIATION STORAGE AND OPERATION

       Shall determine if the CT system(s) can withstand the effects of solar loading without
       physical damage or compromises in operational ability. System will be deemed to meet
       minimum requirements if it remains 100% operable after being subjected to this test.

Test Procedures
       a. General
              The procedures of MIL-STD-810G, Method 505.5, will be used as guidance for
              this test and, tailored to represent operation of the CT System at various times
              during worst-case conditions of a hot climatic diurnal cycle.

       b. Test Preparations
               (1) The system, in the transport configuration, will be positioned in the
               environmental chamber. Thermocouples will be positioned throughout the system
               to record temperatures for information and troubleshooting purposes. A transducer
               will be used to measure the chamber humidity. To minimize power fluctuations and
               isolate system performance, commercial power will be used for the chamber tests
               unless otherwise directed. An ADMAS will be used to measure system power
               consumption.
               (2) The system will be deployed to the operational configuration; the water
               phantom or surrogate will be used to perform operational images for comparison to
               baseline images to determine degradation of the system function before
               conditioning of the chamber begins.
               (3) Following a successful system check, the system will be prepared for operations
               in high temperature storage and operation in accordance with the TM.

       c. Test Conduct
               (1) Storage, Test Method 505.6, Procedure II (Transport Mode)
                          (1) For high temperature/solar radiation storage testing, the CT System
                          will be exposed to three (3) 24-hour, hot-dry test cycles.

                      (a) The chamber temperature will be increased to the starting temperature
                      of the diurnal cycle. After the chamber stabilizes, the solar radiation will be
                      increased to the peak solar conditions and the storage portion of testing will
                      begin. Following the storage testing, a visual inspection will be performed
                      on the system to identify damage caused by the high temperature/solar
                      radiation storage.
                      (b) The chamber temperature will be gradually decreased to ambient; the
                      ISO shelter shall be stabilized at this temperature for 12 hours.
                      (c) At the conclusion of the storage cycles, the CT system will be deployed
                      to the operational configuration and visually inspected for damage. The

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              water phantom or surrogate will be used to perform validation images for
              comparison to baseline images to determine degradation of the system.

       (2) Operation, Test Method 505.6, Procedure II (Operational Mode)
              (a) The system will remain deployed to the operational configuration. For
              operational testing, the CT system will be exposed to three (3) 24-hour, hot-
              dry test cycles. The IECU will be activated during all operational
              temperature actions. The thermostat of the IECU will be adjusted to
              stabilize the interior temperature of the ISO shelter within the specified
              range.
              (b) The chamber temperature will be increased to the starting temperature
              of the diurnal cycle. After the chamber stabilizes, the solar radiation will be
              increased and maintained to the peak solar loading conditions. The
              temperature profile for the diurnal cycles will be initiated.
              (c) The first cycle will be used to condition the CT system to the solar
              loading temperatures and effects.
              (d) For the second cycle, the IECU thermostat will be adjusted to maintain
              the interior temperature of the ISO shelter at the minimum required
              temperature. If the system is not operational, the interior temperature will
              be increased incrementally by 3oF and allowed to stabilize until complete
              function of the CT System is possible.
                      1 Pre-Dawn Scenario. At the 0500 hour of the cycle, the water
                      phantom or surrogate will be used to perform validation images.
                      2 Peak Solar Scenario. At the 1600 hour of the cycle, the water
                      phantom or surrogate will be used to perform validation images.
                      3 Post Solar Scenario. At the 2000 hour of the cycle temperature of
                      the cycle, the water phantom or surrogate will be used to perform
                      validation images.

              (e) For the third cycle, the IECU thermostat will be adjusted to maintain the
              interior temperature of the ISO shelter at the maximum required
              temperature. If the system is not operational, the interior temperature will
              be decreased incrementally by 3o F and allowed to stabilize until complete
              function of the CT System is possible.
                      1 Pre-Dawn Scenario. At the 0500 hour of the cycle, the water
                      phantom or surrogate will be used to perform validation images.
                      2 Peak Solar Scenario. At the 1600 hour of the cycle, the water
                      phantom or surrogate will be used to perform validation images.
                      3 Post Solar Scenario. At the 2000 hour of the cycle temperature of
                      the cycle, the water phantom or surrogate will be used to perform
                      validation images.

       (3) Operation, Test Method 505.6, Procedure I (Operational Mode).
              (a) The system will remain deployed to the operational configuration. For
              operational testing, the CT system will be exposed to three (3) 24-hour, hot-



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                      dry test cycles. The CT System ECU will be in an operational mode during
                      all diurnal cycles.
                      (b) The chamber temperature will be increased to the starting temperature
                      of the diurnal cycle. After the chamber stabilizes, the diurnal cycles will be
                      initiated.
                      (c) The first cycle will be used to condition the CT system to the solar
                      loading temperatures and effects.
                      (d) For the second cycle, the IECU thermostat will be adjusted to maintain
                      the interior temperature of the ISO shelter at the minimum required
                      temperature.
                              1 Pre-Dawn Scenario. At the 0500 hour of the cycle, the water
                              phantom or surrogate will be used to perform validation images.
                              2 Peak Solar Scenario. At the 1300 hour of the cycle, the water
                              phantom or surrogate will be used to perform validation images.
                              3 Post Solar Scenario. At the 2000 hour of the cycle temperature of
                              the cycle, the water phantom or surrogate will be used to perform
                              validation images.
                      (e) For the third cycle, the IECU thermostat will be adjusted to maintain the
                      interior temperature of the ISO shelter at the maximum required
                      temperature.
                              1 Pre-Dawn Scenario. At the 0500 hour of the cycle, the water
                              phantom or surrogate will be used to perform validation images.
                              2 Peak Solar Scenario. At the 1300 hour of the cycle, the water
                              phantom or surrogate will be used to perform validation images.
                              3 Post Solar Scenario. At the 2000 hour of the cycle temperature of
                              the cycle, the water phantom or surrogate will be used to perform
                              validation images.

              (4) After the storage and operation periods, the components/system will be visually
              inspected. The water phantom or surrogate will be used to perform validation
              images for comparison to the baseline images to determine degradation of the
              system. All physical changes will be recorded.

(4) HIGH TEMPERATURE/HIGH HUMIDITY OPERATION

       Shall determine the resistance of the CT System to thermal effects induced by storage and
       operation in a high temperature climate.
       System will be deemed to meet minimum requirements if it remains 100% operable
       after being subjected to this test.

Test Procedures
       a. General
              MIL-STD-810G, Method 507.6, Procedure II, will be used as guidance for this test;
              tailored to provide a typical operating scenario to evaluate the CT Scanner System.


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  b. Test Preparations
          (1) The CT System will be positioned in the environmental chamber.
          Thermocouples will be positioned throughout the system to record temperatures for
          information and troubleshooting purposes. A transducer will be used to measure
          the chamber and shelter interior humidity. To minimize power fluctuations and
          isolate system performance, commercial power will be used for the chamber tests
          unless otherwise directed. An ADMAS will be used to measure system power
          consumption.

         (2) The system will be deployed to the operational configuration; the water
         phantom or surrogate will be used to perform operational images for comparison to
         baseline images to determine degradation of the system function before
         conditioning of the chamber begins.

  c. Test Conduct (Operational Mode)
          (1) The system will be deployed during a 24-hour drying cycle in which chamber
          conditions are held at 75oF and 50-percent RH for that period.
                (a)     The improved environmental conditioning unit (IECU) will be
                activated during all operational humidity actions. The thermostat of the
                IECU will be adjusted to stabilize the interior temperature of the ISO shelter
                within the specified range.
                (b) The chamber temperature will be gradually increased to 90oF and 75%
                relative humidity (RH); the chamber shall be stabilized at this temperature
                for 2 hours.
                (c) The IECU thermostat will be adjusted to maintain the interior
                temperature of the ISO shelter at the minimum required temperature.
                Interior humidity readings will be recorded.

                (d) The CT System will be energized at this temperature; if the system is
                not operational, the interior temperature will be raised incrementally by 3oF
                and allowed to stabilize until complete function of the CT System is
                possible.
                (e) The water phantom or surrogate will be used to perform operational
                images for comparison to the baseline images to determine degradation of
                the system function.
                (f) The IECU thermostat will be adjusted to maintain the interior
                temperature of the ISO shelter at the maximum required temperature.
                Interior humidity readings will be recorded.
                (g) The CT System will be energized at this temperature; if the system is
                not operational, the interior temperature will be decreased incrementally by
                3oF and allowed to stabilize until complete function of the CT System is
                possible.


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                   (h) The water phantom or surrogate will be used to perform operational
                   images for comparison to the baseline images to determine degradation of
                   the system function.

            (2) If successful operation is performed at 90oF; the chamber shall be increased to
            104oF and 90% RH and stabilized at this temperature for 2 hours.
                    (a) The IECU thermostat will be adjusted to maintain the interior
                    temperature of the ISO shelter at the minimum required temperature.
                    Interior humidity readings will be recorded.
                   (b) The CT System will be energized at this temperature; if the system is
                   not operational, the interior temperature will be raised incrementally by 3oF
                   and allowed to stabilize until complete function of the CT System is
                   possible.
                   (c) The water phantom or surrogate will be used to perform operational
                   images for comparison to the baseline images to determine degradation of
                   the system function.
                   (d) The IECU thermostat will be adjusted to maintain the interior
                   temperature of the ISO shelter at the maximum required temperature.
                   Interior humidity readings will be recorded.
                   (e) The CT System will be energized at this temperature; if the system is
                   not operational, the interior temperature will be decreased incrementally by
                   3oF and allowed to stabilize until complete function of the CT System is
                   possible.

                   (f) The water phantom or surrogate will be used to perform operational
                   images for comparison to the baseline images to determine degradation of
                   the system function.
                   (g) After completion of the operation periods, the components/system will
                   be visually inspected. All physical changes will be recorded.

                   (3) Following a successful system check, the system will be deployed in the
                   transport configuration. The chamber temperature will be gradually
                   increased to 158oF and 85% relative humidity (RH); the chamber shall be
                   stabilized at this temperature for 24 hours. After completion of the storage
                   period, the components/system will be visually inspected. All physical
                   changes will be recorded. The CT System will be operated to capture
                   operational images.


(5) ALTITUDE STORAGE AND OPERATION

     Shall determine if the CT system(s) is affected by decreases in atmospheric pressure and
     can function properly at altitudes above sea level.


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       System will be deemed to meet minimum requirements if it remains 100% operable
       after being subjected to this test.

Test Procedures
       a. General
       MIL-STD-810G, Method 500.6, Procedures I and II, will be used as guidance for this test.

 ALTITUDE, ft.                              CONFIGURATION
 30,000                                     Transport
 4,000                                      Operational
                             TABLE 5.1: CT SYSTEM TESTING CONDITIONS

       b. Test Preparations
               (1) Thermocouples to measure critical operating temperatures will be installed to
               monitor temperature at critical locations in the CT system.

              (2) Prior to placing the CT system in the test chamber, the system will be operated
              to capture validation images.

       c. Test Conduct
       (1) Storage, MIL-STD-810G, Test Method 500.6 Procedure I (Transport Configuration)
               (a) The CT system will be placed in the test chamber in the transport configuration.
               The test chamber will be operated and the chamber temperature will be adjusted to
               the temperature of -40oF. This temperature will be maintained for 24 hours to
               stabilize the system at or within ±10°F of this temperature. Once all temperatures
               have been stabilized and during all subsequent testing, the average of the eight
               ambient thermocouples will not be more than 10°F above or below the ambient test
               temperature.
              (b) The chamber pressure will be adjusted at a rate not to exceed 32.8ft/s, to the
              specified altitude condition of Table 5.1. This altitude condition will be maintained
              for 24 hours. The chamber altitude will be decreased to sea level and the
              temperature returned to ambient conditions.
              (c) The CT system will be deployed in the operational configuration and validation
              images will be captured. The CT system will remain in the operational
              configuration with the system powered.

       (2) Operations, MIL-STD-810G, Test Method 500.6, Procedure II (Operational Mode).
              (a) The test chamber will be operated and the chamber temperature will be adjusted
              to the ambient temperature of 73oF. This temperature will be maintained for 24
              hours to stabilize the system at or within ±18°F of this temperature. Once all
              temperatures have been stabilized and during all subsequent testing, the average of
              the eight ambient thermocouples will not be more than 18 °F above or below the
              ambient test temperature.




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              (b) The chamber pressure will be adjusted at a rate not to exceed 32.8ft/s, to the
              specified altitude condition of Table 5.1. This altitude condition will be maintained
              for 24 hours. The system will be operated to capture validation images.
              (c) The chamber altitude will be decreased to sea level and the temperature returned
              to ambient conditions.
              (d) The system will be operated to capture validation images.

(6) BLOWING RAIN

       Shall determine the ability of the CT system(s) to function when exposed to wind-driven
       rain.
       System will be deemed to meet minimum requirements if it remains 100% operable
       after being subjected to this test.

Test Procedures
       a. General
       Guidance for this test will be derived from MIL-STD-810G, Method 506.6, Procedure I.

       b. Test Preparations
       Standard meteorological totalizing rainfall cups will be used to establish the average free-
       fall rate of rain prior to the application of the wind simulation. Thermocouples connected
       to a data logger or hand-held reader will be used to measure the temperatures of the water
       and ambient air. A hot wire anemometer will be used to establish an engine speed
       corresponding to the requisite wind speeds produced by the fans. The fan engine speed will
       thereafter be used to govern wind speed with intermittent verification by anemometer.


       c. Test Conduct
       (1) Transport Mode
               (a) The CT system will be positioned adjacent to the Rain Test Facility at the Mile
               Loop Test Area, and will be deployed in the transport configuration during testing,
               meaning within the ISO Shelter.
              (b) The steady-state free-fall rate of rain produced by the facility towers will be
              adjusted to 4 inches per hour. The fans will then be operated to provide a steady-
              state wind speed of 40 mph at the exposed face of the CT system. This wind-driven
              rain simulation will be continued for 30 minutes.
              (c) The CT system will be rotated 90° and the next side of the test item will be
              exposed to an additional 30 minutes of wind-driven rain simulation.
              (d)This process will be repeated for all sides of the CT system ISO Shelter.
              (e) The CT system will be inspected after the completion of the total rain exposure
              for any evidence of moisture penetration that could compromise the effectiveness
              of the system. Notation will be made of any displacement of components that would
              affect system operation or allow moisture penetration.



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              (f)The CT system will be deployed in the operational configuration and validation
              images will be captured.

       (2) Operational Mode
              (a) The CT system will be configured in the operational mode during testing. The
              system will have power supplied, but will not perform scans during the test.
              (b) The steady-state free-fall rate of rain produced by the facility towers will be
              adjusted to 4 inches per hour. The fans will then be operated to provide a steady-
              state wind speed of 40 mph at the exposed face of the CT system. This wind-driven
              rain simulation will be continued for 30 minutes.

              (c) The CT system will be rotated 90° and the next side of the test item will be
              exposed to an additional 30 minutes of wind-driven rain simulation.
              (d) This process will be repeated for each side of the CT system.
              (e) The CT system will be inspected after the completion of the total rain exposure
              for any evidence of moisture penetration that could compromise the effectiveness
              of the system. The CT system will be operated to capture validation images.
              Notation will be made of any displacement of components that would affect system
              operation or allow moisture penetration.

(7) BLOWING SAND AND DUST

       Shall determine if the CT system(s) is satisfactorily protected from sandy and dusty
       environments. System will be deemed to meet minimum requirements if it remains
       100% operable after being subjected to this test.

Test Procedures
       a. General
       Guidance for this test series will be derived from MIL-STD-810G, Method 510.4,
       Procedure I and II. All Testing will be performed under prevailing ambient conditions.
       b. Test Preparations
       Particulate size will be assured through the use of sand and dust stocks procured from
       sources of acknowledged quality and consistency. The wind speed will be monitored by
       means of a hot wire anemometer and regulated by the engine speed of the fan. Air
       temperatures will be measured by a thermocouple connected to a data logger or hand-held
       reader. Testing will not take place in ambient RH in excess of 30 percent or average winds
       that exceed 15 mph.

        Climatic Design Type                     Daily Cycle               Wind Speed (mph)
 Blowing Sand
 (150-1,000 micrometers       particle     Particle concentrations of
                                                                                   20
 size)                                       0.18 +0.20/ -0.0 g/m3
 > 3540 ft/min
 Blowing Dust                              Particle concentrations of              20


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(74-149 micrometers particle size)                10 ± 7 g/m3
> 1750 ft/min
                                     TABLE 7.1: Sand/Dust




      c. Test Conduct
      (1) MIL-STD-810G, Test Method 510.6, Procedure II, Blowing Sand (Transport Mode)
              (a) Testing will be performed at an outdoor range facility at ambient temperature.
              (b) The CT System will be positioned in the operational configuration. The CT
             System will be placed as close to the blowing sand as possible while maintaining
             an adequate standoff distance such that all components can be tested
             simultaneously. The air velocity will be adjusted to 40 mph and verified with an
             anemometer. The sand feeder will be adjusted to the specified concentration of 2.2
             ± 0.5 g/m3.
             (c) Testing will be performed for 90 minutes on each side of the system. The CT
             System will be non-operational for the first 80 minutes and operated for the last 10
             minutes. The system will have power supplied, but will not perform scans during
             the test.
             (d) The CT System will be rotated 90°, and testing will be repeated until all sides
             have been exposed to the blowing sand.
             (e) After each side of testing, the CT System will be visually inspected to document
             any abrasion or evidence of sand penetration.
             (f) Within 4 hours of completing the test, an operational performance check will be
             performed. Before performing the operational check, accumulated sand will be
             removed only by brushing, wiping, or shaking.

      (2) MIL-STD-810G, Test Method 510.6, Procedure I, Blowing Dust (Transport Mode)
             (a) Testing will be performed at an outdoor range facility at ambient temperature.
             (b) The CT System will be positioned in the operational configuration. The CT
             System will be placed as close to the blowing dust as possible while maintaining
             an adequate standoff distance such that all components can be tested
             simultaneously. The air velocity will be adjusted to 20 mph and verified with an
             anemometer. The dust feeder will be adjusted to the specified concentration of 10.6
             ± 7 g/m3.
             (c) Testing will be performed for 90 minutes on each side of the system. The CT
             System will be non-operational for the first 80 minutes and operated at rated load
             for the last 10 minutes. The system will have power supplied, but will not perform
             scans during the test.
             (d) The CT System will be rotated 90°, and testing will be repeated until all sides
             have been exposed to the blowing dust.


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             (e) After each side of testing, the CT System will be visually inspected to document
             any abrasion or evidence of dust penetration.
             (f) Within 4 hours of completing the test, an operational performance check will be
             performed. Before performing the operational performance check, accumulated
             dust will be removed only by brushing, wiping, or shaking.


(8) TRANSIT DROP

          Shall determine the CT system capability to withstand the rigors of military transport
          and setup by performing 1 flat-bottom drop test.

          System will be deemed to meet minimum requirements if it remains 100%
          operable after being subjected to this test.

Test Procedures
       a. General
       Testing will be conducted in accordance with MIL-STD-810G, Method 516.7, Procedure
       IV.

      b. Test Preparations
              (1) The system will be deployed to the operational configuration; the water
              phantom or surrogate will be used to perform validation images for comparison to
              baseline images to determine degradation of the system function.
              (2) The CT system will be deployed in the transport configuration. The CT system
              container exterior will be measured, including length; height; width; and top
              diagonal, side diagonal, and end diagonal. These measurements will be used to
              determine if any racking occurred. Measurement orientations are presented in
              Figure 8.1 Measurements will be recorded.




                           FIGURE 8.1: Measurement Orientations

      c. Test Conduct

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       (1) The system will be taken to the Transit Drop Test Site, and unloaded from the
       transport vehicle. The system will be subjected to the drop orientation listed in
       Table 8.1.
           Drop No.                                    Test Item Orientation
                1                                            Flat Bottom
                       TABLE 8.1: Drop Orientation
        (2) The impact area of the test site will consist of compacted soil. An overhead
       crane, quick-release hook, and slings will be used to lift the system. The quick-
       release hook will be attached to the crane and the slings will be attached to the quick-
       release hook.
       (3) CT System Testing
               (a) For the transit drop, the CT system will be evenly raised so that all four-
               bottom corners are 6 inches off the reinforced concrete impact area. The
               height will be measured using a standard tape measure and will be within
               1/4 inch of the prescribed 6 inches. Actual measurements will be recorded.
               (b) After the CT system is raised to the correct height, the quick-release
               hook will be activated, allowing the container to fall freely onto the impact
               area.
               (c) Upon completion of the flat bottom drop, the exterior of the CT system
               will be inspected for damage. Any damage will be documented and
               photographed.
               (d) Upon completion of the exterior inspection, the CT system doors will be
               opened and inspected for damage, binding, and misalignment. Any
               deformation will be documented and photographed.
               (e) The interior of the CT system and components will also be visibly
               inspected for damage. Any damage will be documented and photographed.
               (f) After the transit drop test, the CT system will be returned to the original
               test site for an operational test.
               (g) The system will be deployed to the operational configuration; the water
               phantom or surrogate will be used to perform validation images for
               comparison to baseline images to determine degradation of the system
               function. A post-test visual inspection will be performed after the
               operational test and any discrepancies or defects recorded and
               photographed.
       (4) CT system components. System components capable of movement by personnel
       will be tested to determine ability to withstand drop.
               (a) The component will be deployed to the operational configuration and
               subjected to a functional check prior to testing.
               (b) The component will be stowed in its appropriate transit case, the transit
               case exterior will be measured; including length, height, width, top


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                         diagonal, side diagonal, and end diagonal. These measurements will be used
                         to determine if any racking has occurred.
                         (c) The transit case will be configured for transport, taken to the transit drop
                         test site, and unloaded from the transport vehicle. The component (in transit
                         case) will be subjected to the drop orientations listed in Table 8.2.
                         (d) The impact area of the test site will consist of reinforced concrete. An
                         overhead crane, quick-release hook, and slings will be used to lift the
                         component (in transit case). The quick-release hook will be attached to the
                         crane and the slings will be attached to the quick-release hook.
                         (e) After the component (in transit case) is raised to the correct height, the
                         quick-release hook will be activated, allowing it to fall freely onto the
                         impact area.
                         (f) Upon completion of each drop, the exterior will be inspected for damage.
                         Damage will be documented and photographed.
(g) Upon completion of the drops, the component will be operated to determine if malfunction or
degradation of performance has occurred. Any malfunction or degradation of performance will be
documented and photographed.



     Weight of Test       Largest
                                                                    Height of Drop,          Number of
     Item and Case,    Dimension, cm                 Notes
                                                                       cm (in.)                Drops
         kg (lb)            (in.)
                                             a-
    Under 45.4         Under 91 (< 36)                              122 (48)              Drop on each
    (100),                                                                                face, edge and
                       91 and         over   a-
    manpacked or                                                    76 (30)               corner; total of
                       (≥36)
    man-portable                                                                          26 dropsd.
                                             a-
    45.4 to 90.8       Under 91 (< 36)                              76 (30)
    (100 to 200),                            a-
                       91 and over
                                                                    61 (24)
    inclusive          (≥36)                                                              Drop on each
                                             a-
                       Under 91 (36)                                61 (24)               corner; total of
    90.8 to 454                              b-
                       91 to 152 (36 to                             61 (24)               eight drops.
    (200 to 1000),
                       60)
    inclusive                                b-
                       Over 152 (60)                                61 (24)
                                                                                          Drop on each
                                                                                          bottom      edge.
                                             c-                                           Drop on bottom
    Over 454 (1000)    No limit                                     46 (18)
                                                                                          face or skids;
                                                                                          total of
                                                                                          five drops.
                                     TABLE 8.2: Transit Drop Test
a
 Perform drops from a quick-release hook or drop tester. The test item will be oriented so that, upon impact,
a line from the struck corner or edge to the center of gravity of the case and contents is perpendicular to the
impact surface.


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b
  With the longest dimension parallel to the floor, the transit, or combination case will be supported with
the test item within, at the corner of one end by a block 13 cm (5 in.) in height, and at the other corner or
edge of the same end by a block 30 cm (12 in.) in height. The opposite end of the case will be raised to the
specified height at the lowest unsupported corner and allowed to fall freely.
c
  While in the normal transit position, the case and contents will be subjected to the edgewise drop test as
follows (if the normal transit position is unknown, orient the case so the two longest dimensions are parallel
to the floor): Edgewise drop test: one edge of the base of the case will be supported on a sill 13 to 15 cm (5
to 6 in.) in height. The opposite edge will be raised to the specified height and allowed to fall freely. The
test will be applied once to each edge of the base of the case (total of four drops).
d
  If desired, the 26 drops will be divided among no more than five test items.

(9) SYSTEM SETUP

        Shall be unpacked, assembled, and made ready for use by 3 trained operators/maintainers
        in 4 hours or less. System will be be deemed to meet minimum requirements if it can
        be unpacked, assembled, and made ready for use by 3 trained operators/maintainers
        in 4 hours or less.

        Test Conduct:

                a.) Setup: After the operators are thoroughly familiar with system operations, time
                    trials will be performed. Setup time will begin when the system is positioned at
                    the test site. The crew will be asked to set up the system and begin operation.
                    The set-up time will end when the system is in its operational configuration and
                    the system is ready to be operated. If the overall time exceeds or is very close
                    to the time requirement for initial trials, the major sequences in the process will
                    be timed in an effort to identify bottleneck processes or procedures.
                b.) Teardown: The teardown time will begin once the operator is notified to prepare
                    the system for movement. The tear down time will end when the system is in
                    its stowed configuration and prepared for transport.



(10) HUMAN FACTORS ENGINEERING (HFE)

        The CT when installed in the ISO Shelter and under operation shall be safe, useable and
        conform to the display, labeling and lifting limit requirements (such as moving the
        transport cases inside ISO Shelter, the gantry, the patient support table, contrast media
        injector, and operator console) in accordance with MIL-STD-1472G, Section 5 (Displays,
        5.4.7 Labels, 5.8.6.3 Lifting limits, push/pull). System will be deemed to meet
        minimum requirements if there are no safety findings, no issues of personnel not
        being able to properly use the system in an ISO shelter and there are no problems
        with displays and labeling.

Test Procedures
       a. General



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  Observations will be made of workspace, displays, and labeling with respect to HFE design
  practices based on MIL-STD-1472G. Workspace dimensions and display heights/viewing
  angles will be measured and recorded. Informational and hazard labels will be documented.

  b. Test Conduct (Operational Mode)
          (1) Manpower and Personnel
                (a) All military personnel designated as CT scanner operators and
                maintainers will undergo system training conducted by the equipment
                manufacturer. A questionnaire will be administered to the training
                participants, asking each to rate the quality of instruction and training
                materials.
                (b) Demographic data of the personnel including relevant background
                information will be taken to characterize each operator’s background with
                CT Systems.
                (c) A CT operator will measure anthropometric parameters on each
                operator. Each test participant will be weighed and measured for percentile
                characterization. The 5th to 95th percentile range assessment will be
                dependent upon the availability of the appropriately sized personnel.
         (2) Work Area. The work area of the system will be evaluated to see if it provides
         sufficient workspace to perform all essential functions.
         (3) Usability and Safety. Government personnel who have been trained be the
         vendor shall conduct routine inspection and acceptance testing for a CT. They
         should be able to successfully use the system for all normal clinical procedures
         without additional training. During this normal operation there should not be
         any potential for use errors and potential hazards that would or could result in
         serious harm to the patient or user. This includes mechanical and software
         driven user interfaces, systems, tasks, user documentation, and user training to
         enhance and demonstrate safe and effective use. Types of hazards include:
         o      Physical hazards (e.g., sharp corners or edges)
         o      Mechanical hazards (e.g., kinetic or potential energy from a moving
                object)
         o      Thermal hazards (e.g., high-temperature components)
         o      Electrical hazards (e.g., electrical current, electromagnetic interference
                (EMI))
         o      Chemical hazards (e.g., toxic chemicals)
         o      Radiation hazards (e.g., ionizing and non-ionizing)
         o      Biological hazards (e.g., allergens, bio-incompatible agents and
                infectious agents) (no patient will be used for the test).
         o      Displays and Controls



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                      (a) Angles of rotation will be measured with straightedges and protractors.
                      All controls will be checked to ensure that there is proper separation and
                      labeling of switches and indicator lights. The layout, format, and separation
                      between controls and indicators or displays will be reviewed for
                      convenience and operability.
                      (b) The visibility test will be conducted to determine the ability of personnel
                      to accurately identify and read various labels and display messages.
                      Problem areas to be identified include the following:
                             (a) Insufficient illumination or glare.
                             (b) Obstructed vision.
                             (c) Poor component location.
                             (d) Inappropriate orientation of label/display to viewer.
                             (e) Inappropriate location of label/display.
                             (f) Inadequate scaling or label size.
              (4) Photographs will be taken of aspects that present poor HFE design.

(11) RAIL TRANSPORTABILITY

       Shall determine the ability of the CT System to withstand the stress of movement by
       military rail systems without experiencing damage or degradation of performance. System
       will be deemed to meet minimum requirements if it remains 100% operable after
       being subjected to this test.

Test Procedures
       a. General
       MIL-STD-810G, Test Method 526.1 will be used as a general guide during testing, which
       will be conducted at the ATC Rail Impact Test Facility.

       b. Test Preparation
               (1) Prior to testing, the CT System will be deployed in the operation configuration.
               The system will be visually inspected; damages that might compromise the results
               of testing will be repaired. The X-ray phantom or surrogate will be used to perform
               operational images for comparison to the baseline images to determine degradation
               of the system function.

              (2) The CT System will be loaded onto a 140-ton DODX steel deck railroad flatcar
              equipped with a cushioned draft gear. The CT system will be secured.

       b. Test Conduct
               (1) The CT system will be deployed in the transport configuration and loaded onto
               a 140-ton DODX steel deck railroad flatcar equipped with a cushioned draft gear.
               The CT system will be secured in accordance with Transportability Engineering
               Agency (TEA) Pamphlet 55-19.

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               (2) The CT system and flatcar will be impacted against one stationary, 100-ton
               flatcar (buffer car). Steel plates will be loaded and secured to the buffer car with
               steel bracing, essentially making it a single mass body weighing at least 250,000
               lb.
               (3) The stationary flatcar will be positioned with the air and hand brakes set. Testing
               will be conducted on a straight, flat section of track. A shuttle-wagon will be used
               to set the flatcar in motion at the desired speed. A calibrated noncontact fifth wheel
               attached to the shuttle-wagon will be used as a speed indicator for the shuttle-wagon
               operator.
               (4) Actual impact speeds will be measured using an electronic timer that starts and
               stops with micro-switches actuated by contact with the wheels of the moving
               flatcar. The micro-switches will be placed 5 feet apart, and the stop switch will be
               within 7 feet of the point of impact. The speeds and orientations of the rail impacts
               are presented in Table 11.1. The speeds as well as other physical quantities will be
               measured in U.S. Customary System units and then converted to International
               System (SI) units. At 4 and 6 mph, the test tolerance will be +0.5/-0.5 mph, and at
               8 mph, the test tolerance will be +0.5/-0.0 mph. No adjustments to the loading or
               securing mechanisms or reconditioning of the bracing or items that are secured are
               allowed after test initiation.


                                          NOMINAL SPEED
    IMPACT NO.                                                                 ORIENTATION
                                  km/hr                      mph
           1                        6.4                       4                     Forward
           2                        9.7                       6                     Forward
           3                       12.9                       8                     Forward
           4                       12.9                       8                     Reverse
                       TABLE 11.1: Rail Impact Speeds and Orientations


(12) ROAD SHOCK AND VIBRATION (RS&V)

       Shall determine the capability of the CT System to withstand the shock and vibration
       encountered during military transport operations. System will be deemed to meet
       minimum requirements if it remains 100% operable after being subjected to this test.

Test Procedures
       a. Test Preparation
               (1) Prior to testing, the CT System will be deployed in the operation configuration.
               The system will be visually inspected; damages that might compromise the results
               of testing will be repaired. The X-ray phantom or surrogate will be used to perform
               operational images for comparison to the baseline images to determine degradation
               of the system function.

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             (2) The CT System will be loaded onto a 140-ton DoD steel deck railroad flatcar
             equipped with a cushioned draft gear. The CT Scanner system will be secured.

      b. Test Conduct
              (1) The system will be deployed in the transport configuration (mounted on the
              prime mover) will complete five circuits of the Munson Test Area (MTA) test
              courses at the specified speeds listed in Table 12.1. The specified speeds are both
              the target test speeds and maximum speeds, and may be reduced if necessary to
              maintain vehicle control or prevent wheel liftoff.


              TEST COURSE                                      TEST SPEED, mph
               2-in. washboard                                          10
               6-in. washboard                                           5
              Radial washboard                                          15
              3-in. spaced bump                                         20
                Belgian block                                            8
                    Gravel                                              25
                             TABLE 12.1: Test Courses and Speeds
             (2) A visual inspection will be performed on each system at the following intervals:
                     (a) During the first lap of operation, the system will be visually inspected at
                     end of each segment of the RS&V course.
                     (b) A visual inspection will be performed after one (1) complete lap of the
                     RS&V course.
                     (c) A visual inspection will be performed after three (3) complete laps of
                     the RS&V course.
             (3) At the completion of the RS&V course operation, the system will be deployed
             in the operational configuration and the water phantom or surrogate will be used to
             perform validation images for comparison to the baseline images to determine
             degradation of the system function.

(13) ROAD ENDURANCE

      Shall determine the capability of the CT System to withstand the shock and vibration of
      primary, secondary, and cross-country transport. System will be deemed to meet
      minimum requirements if it remains 100% operable after being subjected to this test.

Test Procedures
       a. General


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      Testing will be conducted at ATC’s Munson Test Area (MTA), Perryman Test Area (PTA),
      and Churchville Test Area (CTA).

      b. Test Conduct (Transport Mode)
              (1) The CT system will be subjected to four (4) cycles of the road endurance
              schedule presented in Table 13.1.

             TEST COURSE                     APPROXIMATE DISTANCE, mi
             Perryman Paved                                  250
              Munson Gravel                                  125
              Belgian Block                                   75
               Perryman A                                     50
             Perryman No. 1                                  125
              Churchville B                                  125
                      TABLE 13.1 Road Endurance Test Schedule

             (2)At the beginning and end of each driving period, the CT system will be visually
             inspected for any evidence of structural damage, deformation, loosening, or
             breakage that may occur during travel.

             (3) At the conclusion of the road endurance testing, the system will be deployed to
             the operational configuration. The water phantom or surrogate will be used to
             perform validation images for comparison to baseline images to determine
             degradation of the system function.

(14) PHYSICAL CHARACTERISTICS

      Shall determine the system(s) transportability capabilities and limitations.
      System will be deemed to meet minimum requirements if it meets the weight and
      space constraints of ISO Shelter in the aforementioned minimum requirement ECs.

Test Procedures
       a. Test Conduct
               (1) Weight Distribution. The CT system shall be weighed in its transport
               configuration and the weight recorded.
             (2) Center of Gravity (CG). The fully equipped CT system will be deployed in its
             transport configuration. Load distribution (weight) data will be used to compute the
             longitudinal and lateral CG of the container. The vertical CG’s will be obtained by
             the suspension method. For this method, the lengthwise end of the system will be
             suspended with a shop crane by cables of unequal length. A vertical line projected
             through the CG of the shop crane suspension hook pivot will pass through the CG
             of the freely suspended system. The line will be scribed on a plane surface mounted
             on the CT system. The CT system will be lowered to the shop floor, the unequal
             length of cables will be interchanged, and the item will be suspended. A second
             vertical line will be projected. The intersection of the two projected lines will locate
             the CG in the horizontal (longitudinal) and vertical dimensions.

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              (3) Physical Dimensions.
                     (a) The CT system shall be measured in its operational configuration and
                     the dimensions recorded.
                     (b) The CT system shall be measured in its stored configuration and the
                     dimensions recorded. Measurements will be recorded prior to test initiation.
                     Figure 8.1 depicts the measurement orientations.

(15) TRANSPORTABILITY COMPATIBILITY

     For CT systems incorporating non-DoD provided ISO Tactical Shelters, shall determine the
     system(s) transportability capabilities and limitations. System will be deemed to meet
     minimum requirements if it remains 100% operable after being subjected to this test.

Test Procedures
       a. General
       Measurements will be taken to determine if the CT system is a standard type DEPMEDS
       8x8x20 container and if the container is compatible with ISO standards.
       b. Test Conduct (Transport Mode)
               (1) Highway. The physical characteristics, CG, and weight measurements of the
               CT system recorded in subtest 2.2 will be provided to the CT system project
               engineer at SDDCTEA for analysis. Tie-down configurations employed for each
               CT system configuration will be recorded and documented with still photographs.

              (2) Forklift capability. The CT system frame will be inspected to verify the
              provision of fork pockets on each side. During relocation of the CT system, a record
              of the use of forklifts employed to lift, carry, and load the CT system will be made.
              The record will include the type and capacity of the lift, the use of fork extensions
              (if deemed necessary), the side/end of the frame lifted, and any problems or
              limitations experienced during the procedure(s).

              (3) Fixed-wing aircraft. The U.S. Air Force Air Transportability Test Loading
              Agency (ATTLA) at Wright-Patterson Air Force Base (AFB) will conduct an
              aircraft compatibility analysis through coordination with SDDCTEA. If ATTLA
              requires a demonstration of internal loading, ATC will coordinate and conduct the
              test. The CT system will undergo C-130 aircraft internal load tests if necessary.
              Each configuration will be loaded onto a C-130 by loadmasters, assisted by ATC
              test personnel. The loading method and support equipment used will be recorded.
              Loading will be documented with still photographs and video. Any discrepancies
              or difficulties experienced during any of the loadings will be recorded.

              (4) Sealift. Physical dimensions, weights, and Center of Gravity of the CT system
              will be provided to SDDCTEA for analysis. SDDCTEA will be responsible for an
              engineering analysis to determine if the CT system is compatible with marine
              stowage and handling provisions of various oceangoing vessels as defined in MIL-
              STD-1366E.



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                (5) Containerized Handler Interface. The CT system, fully packed, will be moved
               with the RTCH from a ground location onto a flatbed. Once positioned, the shelter
               will be inspected for damage. Following the inspection, the RTCH will return the
               shelter to a ground location. The shelter will be re-inspected for any structural
               damage.


(16) TRANSPORTABILITY LIFT AND TIE DOWN PROVISIONS

For CT systems incorporating non-DoD provided ISO Tactical Shelters, shall determine if the CT
system meets the requirements for configuration, function, and structural integrity as required for
safe lifting and restraint during movements by assets of the Defense Transportation System
(DTS).System will be deemed to meet minimum requirements if it remains 100% operable
after being subjected to this test.

Test Procedures
       a. General
       Test procedures are derived from MIL-STD-1366 and MIL-STD-209K. The TOP 1-2-500
       was also used as a general guide during testing. Specific test methodologies and applied
       test loads were consistent with the guidance promulgated by the Military Surface
       Deployment and Distribution Command –Transportation Engineering Agency
       (SDDCTEA) and U.S. Army Natick Soldier Research, Development, and Engineering
       Center (NSRDEC).

       b. Inspection
              (a) The CT system will be examined to determine if it is equipped with lifting and
              tie-down provisions that met the military-unique physical and functional
              requirements for interoperability with assets of the Defense Transportation System
              (DTS) used in support of movements of military materiel. In addition to these
              considerations, each of the equipment tie-down provisions will be proof tested to
              the actual weight of the CT system.
               (b) The number, types, locations, arrangement, principle dimensions, clearances,
               and any labeling of the CT system slinging and equipment tie-down provisions will
               be compared with the requirements of MIL-STD-209K, paragraph 5 and Figures 1
               through 15, for such fittings. The location of each slinging, equipment tie-down,
               and/or multi-purpose provision relative to the CG, and any height differential from
               front to rear provision pairs will be measured. No special reconfiguration of the test
               item from ordinary transportation mode will be required for crane lift or rail
               movement.

       b. Test Conduct (Transport Mode)
               (1) Crane lift. The CT system at operational weight will be rigged with a sling set
               comprised of four each equal length sling legs. It will be lifted as a free body by
               crane, referred to as a 1-g lift, after testers assure that the rigging will not damage
               any structures contacted during the lift. This will be done to determine the
               minimum length sling that could be used to lift the CT system as a stable load

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              without exceeding the 24-ft height limitation of MIL-STD-209K from the sling
              apex to the base of the suspended load. Points of interference of the system
              structure with the sling will be identified, while the inclination of each sling leg
              from the plane of the provisions, apex height above ground level, overall
              longitudinal inclination of the suspended load, and tensile forces in individual
              sling legs will be measured.
              (2) Structural integrity, equipment tie-down provisions. Tie-down loads will be
              applied statically and independently; distributed among the provisions that would
              effectively resist motion and resolved into proportionate components along each of
              the three orthogonal axes in accordance with MIL-STD-209K, paragraph 5.1.2.

(17) RELIABILITY AND MAINTAINABILITY (R&M)

Shall determine if the CT system demonstrates acceptable reliability and endurance in accordance
with the EC: The System's Mean Time Between Failure (MTBF) shall not be less than 720 hours.

System will be deemed to meet minimum requirements if it remains operational after 380
hours with no failures, which corresponds to an 80% confidence level that its MTBF is 720
hours.

Test Procedures
       a. General
       Testing will be conducted with the system power energized for the entire operational
       period. A CT scan profile will be provided by USAMMA for the type and number of CT
       scans conducted during a 24-hour period. Mass casualty scenarios will be included as
       detailed by USAMMA for the R&M test.

       b. Test Duration
               (1) Table 17.1 details the confidence level that the system can meet an MTBF of
               720 hours, when it is tested for 380 hours (with no failures).

                                              DEMONSTRATED TEST TIME NEEDED
          CONFIDENCE LEVEL
                                                               (Hrs)
                 80.0%                                        380.257
   TABLE 17.1: Confidence Level that the System can meet the MTBF of 720 hours with no
                                         failures

       c. Test Conduct (Operational Mode)
               (1) The goal for R&M testing is to operate the sets continuously for 24 hours per
               day, 5 days per week without shutdown except for the prescribed scheduled
               maintenance and servicing outlined in the service manuals for the sets. Preventive
               maintenance checks and services (PMCS) will be accomplished once every 24
               hours. The CT scan profile described in Table 17.2 will be repeated for the duration
               of the R&M test. R&M test scans will be accomplished by contractor personnel to
               exercise the system for reliability; image quality will not be assessed for these
               scans.

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                                SCAN TYPE
                                 Abdomen
                                    Arm
                                   Bone
                                   Brain
                               Cervical Spine
                                   Chest
                                 Full Body
                                   Heart
                                    Joint
                                     Leg
                                   Pelvis
                                   Skull
                TABLE 17.2: CT Scan Profile – 24 Hour Operation
         (2) Additionally, a mass casualty event will be conducted at a period to be
         determined by USAMMA. The mass casualty event will be conducted as
         performing six (6) full body scans in a one (1) hour time period.

         (3) Individual CT operating hours will be tracked and recorded for each system.
         Number and type of scans will be recorded in logbooks detailing time of scan,
         system settings, and discrepancies/issues observed.

  a. Performance Tests
        For the R&M test, the sets will be connected to a 100 kW Tactical Quiet Generator
        (TQG). The following scans/tests will be accomplished at designated periods by a
        qualified CT technician:
                -Air Calibration
                -QA scan with water phantom
                -Profile scans to determine image degradation

  b. Instrumentation
         (1) An ADMAS will be connected to the generator output to monitor total system
         power usage. Additionally, an ADMAS will be connected to monitor CT system
         power usage and an additional ADMAS will monitor ISO shelter power usage.
         (2) The voltage and frequency of each CT system will be recorded continuously
         with ADMAS. At the time of each instrumentation reading, the logbooks will be
         marked with the time of day, R&M hours, and explanations of any indications of
         abnormal system performance. CT scans, instrumentation malfunctions, or other
         problems not associated with system performance will be clearly identified in the
         logbooks at the time of occurrence. The results from ADMAS will be provided to
         the Test Officer daily. Abnormal system performance will be identified to a data
         collector immediately so that a Test Incident Report (TIR) can be written. The Test
         Officer will be notified every workday morning of system performance.



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       c. Temperatures
             Each set will be instrumented with thermocouples to measure the following critical
             operating temperatures:
                    -Ambient air temperature (external)
                    -Ambient air temperature (internal)
                    -Gantry surface temperature

14. Operational Requirements

Additionally, the following operational requirements shall be met by any offered system and
shall be part of the First Article Testing.

Operational Test Context: The operational testing will include but not be limited to: inventory of
the system (for damage and completeness per requirements), operating the system in a
representative operational environment based off of the context of current and future field
operations as well as maintenance at three different levels (operator, field level maintainer and
sustainment level maintainer).

       Device familiarization for CT users (Radiology Technicians and Radiologists) will be
       provided by the vendor prior to testing. Manufacturer representatives will notify the
       Government how much time should be reserved for device familiarization to all members
       of the CT scanner user teams.

       Device familiarization for CT Scanner Maintainers will be provided by the vendor prior
       to testing. Manufacturer representatives will notify the Government how much time
       should be reserved for device familiarization to the field-level and sustainment-level
       maintainers.

       Operational: CT scanner user teams will operate the CT scanner based on test trials
       derived from the RFO Clinical Minimum Essential Characteristics. During test trials, the
       CT scanner user teams will perform their respective duties necessary for the stowage,
       deployment, and operation of the CT scanner system.

       Maintenance: Test trials will be conducted based on the RFO Training and Training
       Support Essential Characteristics. Tasks will be identified from the table below (Note:
       Selection of the specific tasks performed will be at the discretion of the Government):


                            Field Maintenance       Field Maintenance to be   Sustainment
                            to be performed by       performed by the CT    Maintenance to be
                              the CT Operator       Biomedical Equipment performed by the
                                 (Radiology             Specialist (BES)          BES
                                Technician)
 Troubleshooting guide,
                                     X                         X                       X
 tutorials, check lists
 Troubleshoot unit                                             X                       X


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Cosmetic Repairs                                    X                   X
Software updates                                    X                   X
Hardware updates                                    X                   X
Board swaps                                         X                   X
Modular component
                                                    X                   X
swaps
Quality assurance,
quality control,
                                                    X                   X
calibration, &
verifications
Software restore                                    X                   X
Minor repairs                                       X                   X
Minor adjustments                                   X                   X
Rebuild/ Refurbish/
                                                                        X
Overhauls
X-ray certification/ re-
certification after a                                                   X
major repair
Major repairs                                                           X
Clean unit                 X                        X                   X
Perform functional test
of the device prior to
operating, setup system    X                        X                   X
for operation and
system warm up
Self-diagnostics           X                        X                   X
Perform annual
maintenance checks,
                                                    X                   X
services and
calibrations
Identify components,
characteristics,
                           X                        X                   X
capabilities, and
limitations
Identify Safety
Symbols, Warnings,
                           X                        X                   X
and Cautions for the
Machine
Inventory the X-Ray
                           X                        X                   X
machine
Operate the machine        X                        X                   X
Pack system for storage
                           X                        X                   X
and movement
Storage for long
                                                                        X
periods


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15. Training & Training Support
          Essential Characteristic                                 Definition
 Applications Training                        Vendor shall include radiologist/surgeon,
                                              operator, and maintenance Applications training
                                              with teaching modules on CD-ROM or DVD
                                              and printed material. This training material
                                              must be added as a deliverable with copyrights
                                              for the DoD to use (upload) to DoD secured
                                              network.
 Clinical Applications Support                The vendor shall be required to offer, as part of
                                              the contract, training options for individual
                                              software applications training that can be
                                              ordered on an as needed basis through the
                                              vendor’s Radiology Program Administrative
                                              ECAT contract.
 OEM Service Training                         Vendor shall have a Training Program, just like
                                              the one used for OEM field service technical
                                              staff, which will be available for the DoD
                                              Military and Civilian biomedical equipment
                                              specialist and operators to attend. The vendor
                                              will be required to offer, as part of the contract,
                                              training options for individual service training
                                              that can be ordered on an as needed basis
                                              through the vendors Radiology Program
                                              Administrative ECAT contract.
 OEM Online Maintainer and User Training      The vendor shall provide access to an online
                                              portal for all DoD radiologists, biomedical
                                              equipment specialists, and operators for the
                                              proposed system configuration. Online training
                                              (or on DVD) should include all the Original
                                              Equipment Manufacturer (OEM) recommended
                                              preventive and corrective maintenance services
                                              necessary to operate, maintain, and sustain the
                                              system for the useful life of the system.
 CT Operator Training                         At minimum, the training shall encompass
                                              instruction for the following tasks:
                                              -Troubleshooting guide, tutorials, check lists
                                              -How to clean unit
                                              -Perform functional test of the device prior to
                                              operating, Setup system for operation and
                                              System Warm up
                                              -How to perform Self diagnostics


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                                    -How to perform annual maintenance checks,
                                    services and calibrations
                                    -How to identify components, characteristics,
                                    capabilities, and limitations
                                    -How to identify Safety Symbols, Warnings, and
                                    Cautions for the Machine
                                    -How to inventory the machine
                                    -How to operate the Machine
                                    -How to pack system for storage and movement
CT Radiologist Training             At minimum, the training shall encompass
                                    instruction for the following tasks:
                                    -How to perform and maneuver reconstructions
                                    packages




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 CT Maintainer Training                          At minimum, the training shall encompass
                                                 instruction for the following tasks:
                                                 -Troubleshooting guide, tutorials, check lists
                                                 -How to troubleshoot unit
                                                 -How to perform cosmetic Repairs
                                                 -How to perform Software updates
                                                 -How to perform Hardware updates
                                                 -How to perform Board swaps
                                                 -How to perform Modular component swaps
                                                 -How to perform Quality Assurance, Quality
                                                 Control, Calibration , Verifications
                                                 -How to perform Software restore
                                                 -How to perform Minor repairs
                                                 -How to perform Minor adjustments
                                                 -How to perform Rebuild/ Refurbish/ Overhauls
                                                 -How to perform X-ray certification/ re-
                                                 certification after a major repair
                                                 -How to perform Major Repairs
                                                 -How to perform Clean unit
                                                 -How to perform functional test of the device
                                                 prior to operating, Setup system for operation
                                                 and System Warm up
                                                 -How to perform Self diagnostics
                                                 -How to perform preventative maintenance
                                                 checks, services and calibrations
                                                 -How to perform Identify components,
                                                 characteristics, capabilities, and limitations
                                                 -How to perform Identify Safety Symbols,
                                                 Warnings, and Cautions for the Machine
                                                 -How to perform Inventory the X-Ray machine
                                                 -How to operate the Machine
                                                 -How to pack system for storage and movement
                                                 -How to store units for long periods



Training Requirements:
Vendors shall not include any training (including operator), in the unit price of their unit. Instead,
vendors shall offer all trainings separately priced.

Minimum Requirement:

CT Operator, Radiologist, and BMET training courses shall be offered for individual training at
the manufacturer site.




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CT Operator, Radiologist, and BMET training shall be offered at Government-specified CONUS
and OCONUS locations.

The vendor shall offer CT operator and BMET “Train the Trainer” group training sessions at
Government-specified CONUS and OCONUS locations. The vendor shall provide a training plan
and outline that includes how the vendor is going to provide training to our Medical Education
Training Campus (METC) Instructors so that the Government can utilize the various shared
maintenance service contract agreements aforementioned. The “Train the Trainer” training
programs shall include all concepts, subjects, and instructions that are normally taught at the
vendor’s location and provide the ability for attendees to be certified by the OEM to train DoD CT
operator and BMET personnel. Government location will have, at minimum, one CT system and
classroom available for training use. Additional training materials will be provided by the vendor.

   1. The vendor shall provide an outline of the respective training plan that includes training
      details, locations, materials, dates, curriculum, responsibilities and documentation. The
      vendor shall also evaluate trainees based on the training provided (i.e. written test).
      (Minimum Requirement)
   2. A tentative training plan of the optional Group Training at a Government Facility
      schedule is below. Each number in the plan represents group training, where up to 6
      trainees will be in attendance.

 CT Scanner Training Plan (Estimates of Group Training)
  Training    Organization Location       2019     2020              2021      2022       2023
 CT           AMEDD        San
 Operator     C&S          Antonio,
 (Radiologist              Texas            1        4                 4         4          4
 Specialist)/
 Radiologist
 Biomedical AMEDD          San
 Equipment    C&S          Antonio,         1        4                 4         4          4
 Specialist                Texas
 USAMMA COMPO1             Tracy
 Depot                     Depot,
 Biomedical                California       1
 Equipment
 Specialist
 USAMMCE OCONUS            Pirmasens,
 Operator                  Germany
 (Radiologist
 Specialist)/
 Radiologist                              TBD
 &
 Biomedical
 Equipment
 Specialist



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   3. The Government intends to purchase, at minimum, five (5) CT Operator “Train the
      Trainer” classes with training material during the life of the standardization. In the event
      that additional classes are needed, the vendor shall offer CONUS and OCONUS optional
      classes that could be purchased by the Government in the future.

   4. The Government intends to purchase, at minimum, five (5) CT Biomedical Maintenance
      Technician “Train the Trainer” classes with training material during the life of the
      standardization. The curriculum shall incorporate abbreviated CT Operator training. In
      the event that additional classes are needed, the vendor shall offer CONUS and OCONUS
      optional classes that could be purchased by the Government in the future.

   5. The Government intends to purchase, at minimum, five (5) CT Radiologist Clinical
      Application classes with training material during the life of the standardization. In the
      event that additional classes are needed, the vendor shall offer CONUS and OCONUS
      optional classes that could be purchased by the Government in the future.

   6. The vendor’s training proposals shall allow DOD trainees to obtain CT scanner “Train
      the Trainer” certification.

   7. The vendor shall accommodate OCONUS training classes at the US Army Medical
      Materiel Center, Europe (USAMMCE). This location is a centralized MRMC Depot with
      multiple bases in the surrounding area.

   8. The vendor shall accommodate CONUS training classes at the following locations:
      - Joint Base San Antonio, Texas
      -Tracy Defense Distribution Depot, Tracy, CA


V. INSTRUCTION TO OFFERORS

A. Completed Attachment 1: Vendors shall complete the attached Vendor Submission Form, in
Excel in order to be considered. This shall include an affirmative statement confirming that their
offer meets all RFO Minimum Requirements and any Objectives cited above and include in
Attachment 1. The Excel spreadsheet should also include a narrative on how all Statement of
Work requirements have been met along with how they meet or exceed all the technical
minimum requirements and objectives. The vendor’s narrative should be supported by the
submission of supporting documents (i.e. brochures, specifications, service manuals, FDA
clearance documents, etc.) included in their RFO response. The exact location of the support
information shall be provided in the Vendor Submission Form in Excel. Vendors should also list
any other value added items they offer beyond what is required or desired by the RFO in the
Vendor Submission Form. Unless, the vendor specifically notes that they do not meet a
minimum requirement or take written exception, by submitting an offer the vendor agrees to
fully meet all RFO requirements at the offered price. Failure to completely fill in the vendor
submission form and/or to provide supporting documentation may result in rejection of the
vendor’s offer.



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B. Completed Attachment 2: Vendors must use Attachment 2, to submit their pricing by
completing each pricing tab for CLINs 0001 through 0020. Vendors must complete all applicable
fields and include every single part number needed to provide fully operational equipment that
meets all minimum requirements in the Statement of Work for each individual CLIN. This
includes providing the existing contract part number, description, list price, existing discount,
existing net price, RFO offered discount and RFO offered net price as well as any additional
offered quantity discounts. Vendors are prohibited from providing or attaching commercial
quotation forms as part of their offer. All offered pricing must be equal to or better than what is
currently on contract. Failure to meet these pricing requirements may result in rejection of the
vendor’s offer.

Mandatory/Required items, which include Repair Parts, Training and Sustainment: Vendors shall
put all items not already part of CLINS 0001 through 0020 in tab entitled “REQ-REPAIR
PTS,TRAIN,SUSTAIN.” This should include all items needed to meet minimum requirements
not in other CLINS, any value added items offered to exceed minimum requirements, full
maintenance/sustainment offering, full training offer, and all repair parts need to keep a
Deployable CT operational in a deployed environment.

Medical equipment items that are not currently on a vendor’s contract may be offered but must
be added to the vendor’s contract prior to delivery order selection. The contractor must identify
each such item in Attachment 2 by selecting the appropriate field in Column B, Contract Status
(dropdown). For each offered item not on contract, the vendor must provide an acceptable
contract addition request including a completed Attachment 2, Tab entitled “Contract ADD
Request” along with their proposal. Items that cannot be added to the contract for any reason (i.e.
pricing cannot be determined as fair and reasonable, etc.) may result in rejection of the offer.

C. IDIQ Contract Addition of Optional Items: Vendors shall provide a full listing of items
that are optional items using Attachment 2, Tab “Optional Items” and agree to support them
under their existing IDIQ contract, including making them available on ECAT. Optional items
may include consumables and accessories that are not required to operate the offered deployable
CT. Vendors shall indicate which items are on their IDIQ contract, provide a recommended parts
list, and agree to add those items that are not currently on their IDIQ contract prior to delivery
order selection under this RFO. This includes agreement to add the items on the DLA Electronic
Catalog (ECAT) for direct online ordering by DLA customers, if implemented by DLA. For
those items listed as not on contract and which are TAA compliant, the vendor must provide an
acceptable contract addition request including a completed Attachment 2, entitled “Contract
ADD Request” along with their proposal. Any such items that cannot be added to the IDIQ
contract (i.e. pricing cannot be determined as fair and reasonable, etc.) may result in rejection of
the vendor’s entire offer.

D. Vendor Authorized Point of Contact: Name and title of authorized vendor quote submitter
along with all relevant point of contact information must be provided.

E. Commercial Specification: Vendors must provide their commercial specification that
outlines key functionality and performance details.



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F. Cybersecurity Documentation, Certification, and Scans: Vendors shall provide the
completed Cybersecurity Questionnaire and Nessus Cybersecurity scan results with their offer. If
the scans show any findings, the vendor shall provide written certification that they shall
remediate or mitigate all of them to the satisfaction of the Government within 120 days of
selection and prior to shipping any items to DLA customers. Vendors must provide an
affirmative statement that they shall fully meet RMF requirements and obtain an ATO.


VI. RFO EVALUATION AND FINAL VENDOR DELIVERY ORDER SELECTION

(A.) The Government will select a single vendor as part of this standardization RFO whose offer
meets all requirements in the Statement of Work and whose offer is determined to be the most
advantageous to the Government, price and other factors considered.

(B.) Technical Factors: The following technical (i.e., non-price) factors, listed in descending
order of importance, shall be used to evaluate offers. The technical factors when combined are
significantly more important than cost or price. As technical proposals become more equal, cost
or price becomes more important.

        FACTOR 1 – SYSTEM CAPABILITY FACTOR
        FACTOR 2 – SUSTAINMENT FACTOR
        FACTOR 3 – TRAINING FACTOR


FACTOR 1 – SYSTEM CAPABILITY FACTOR – The Government will evaluate vendor’s
offer against the entire RFO Statement of Work (SOW), including RMF requirements, using the
vendor’s completed Attachment 1 and the rest of the vendor’s submitted offer to assign strengths
and weaknesses to the vendor’s offer. The System Capability factor shall use the following rating
methodology to evaluate vendor’s offers. This methodology shall include consideration of risks,
strengths, weaknesses, significant weaknesses, uncertainties, and deficiencies in determining
technical ratings.

   Adjectival
     Rating                                        Description
 Outstanding       Proposal indicates an exceptional approach and understanding of the
                   requirements and contains multiple strengths, and risk of unsuccessful
                   performance is low.
 Good              Proposal indicates a thorough approach and understanding of the
                   requirements and contains at least one strength, and risk of unsuccessful
                   performance is low to moderate.
 Acceptable        Proposal meets requirements and indicates an adequate approach and
                   understanding of the requirements, and risk of unsuccessful performance
                   is no worse than moderate.



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 Marginal          Proposal has not demonstrated an adequate approach and understanding of
                   the requirements, and/or risk of unsuccessful performance is high.

 Unacceptable      Proposal does not meet requirements of the solicitation, and thus, contains
                   one or more deficiencies, and/or risk of unsuccessful performance is
                   unacceptable. Proposal is unawardable.



Assessment of technical risk, which is manifested by the identification of weakness(es),
considers potential for disruption of schedule, increased costs, degradation of performance,
the need for increased Government oversight, and/or the likelihood of unsuccessful contract
performance. The risk cited in the above ratings are defined as follows:

       Low: Proposal may contain weakness(es) which have little potential to cause
       disruption of schedule, increased cost or degradation of performance. Normal
       contractor effort and normal Government monitoring will likely be able to overcome
       any difficulties.

       Moderate: Proposal contains a significant weakness or combination of weaknesses
       which may potentially cause disruption of schedule, increased cost or degradation of
       performance. Special contractor emphasis and close Government monitoring will
       likely be able to overcome difficulties.

       High: Proposal contains a significant weakness or combination of weaknesses which
       is likely to cause significant disruption of schedule, increased cost or degradation of
       performance. Is unlikely to overcome any difficulties, even with special contractor
       emphasis and close Government monitoring.

       Unacceptable: Proposal contains a material failure or a combination of significant
       weaknesses that increases the risk of unsuccessful performance to an unacceptable
       level.



FACTOR 2 –SUSTAINMENT FACTOR

The Government will evaluate vendor’s offer against the entire RFO Statement of Work (SOW)
along with using the vendor’s submitted sustainment plan to assign strengths and weaknesses to
the vendor’s offer. The Sustainment factor shall use the following rating methodology to
evaluate vendor’s offers. This methodology shall include consideration of risks, strengths,
weaknesses, significant weaknesses, uncertainties, and deficiencies in determining technical
ratings.

   Adjectival
    Rating                                          Description

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 Outstanding        Proposal indicates an exceptional approach and understanding of the
                    requirements and contains multiple strengths, and risk of unsuccessful
                    performance is low.
 Good               Proposal indicates a thorough approach and understanding of the
                    requirements and contains at least one strength, and risk of unsuccessful
                    performance is low to moderate.
 Acceptable         Proposal meets requirements and indicates an adequate approach and
                    understanding of the requirements, and risk of unsuccessful performance
                    is no worse than moderate.
 Marginal           Proposal has not demonstrated an adequate approach and understanding of
                    the requirements, and/or risk of unsuccessful performance is high.

 Unacceptable       Proposal does not meet requirements of the solicitation, and thus, contains
                    one or more deficiencies, and/or risk of unsuccessful performance is
                    unacceptable. Proposal is unawardable.



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the need for increased Government oversight, and/or the likelihood of unsuccessful contract
performance. The risk cited in the above ratings are defined as follows:

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        disruption of schedule, increased cost or degradation of performance. Normal
        contractor effort and normal Government monitoring will likely be able to overcome
        any difficulties.

        Moderate: Proposal contains a significant weakness or combination of weaknesses
        which may potentially cause disruption of schedule, increased cost or degradation of
        performance. Special contractor emphasis and close Government monitoring will
        likely be able to overcome difficulties.

        High: Proposal contains a significant weakness or combination of weaknesses which
        is likely to cause significant disruption of schedule, increased cost or degradation of
        performance. Is unlikely to overcome any difficulties, even with special contractor
        emphasis and close Government monitoring.

        Unacceptable: Proposal contains a material failure or a combination of significant
        weaknesses that increases the risk of unsuccessful performance to an unacceptable
        level.

Vendors shall provide a CT Sustainment plan for how they meet all Government minimum
requirements, focus areas below and other related sustainment/maintenance items that are


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advantageous for the Government. Strengths will generally be assigned for plans that cover all
aspects of sustainment and maintenance, provide for the quickest deployment support, provide
for self sustaining by the Government to fully support systems with internal resources, most
flexible schedule to account for difficulty to traveling and scheduling classes, provides for parts
support through DLA electronic contract vehicles. Traditional maintenance approaches used in
fixed facilities, ambiguous plans, plans that restrict/limit Government ability to self support the
system, don’t fully cover all aspects of sustainment/maintenance would generally be defined as a
weakness.

The vendor’s CT Sustainment Plan shall utilize the Two-Level Maintenance approach for the
final production system, which is comprised of Field Maintenance (FM) Level Support and
Sustainment Maintenance (SM) Level Support.
        a. 1ST Level: Field Maintenance Level Support
           This is the first and most critical level of maintenance. Its central focus is on-system
           repair characterized by performing maintenance tasks on site such as repairing,
           servicing, and returning system to user. Field maintenance is to be performed at all
           levels of maintenance. The FM maintenance support plan should incorporate
           maintenance training for both the CT operator and Biomedical Equipment Specialist
           maintainer.

       b. 2nd Level: Sustainment Maintenance (SM) Level Support
          This is the second-level of maintenance support that can be exercised through the
          medical supply chain (Med Log Companies (MLC) and Depot Facilities). Sustainment
          level repair actions occur at designated places throughout the Area of Operation (AO).
          Sustainment level maintenance is comprised of both below-depot (MLC) sustainment
          and depot (Brick and mortar Depot Facilities) sustainment maintenance.

The vendor shall also address the following actions:
   • System must be maintained and supported by the DoD in a deployed environment (a
       Shared Maintenance Services Agreement Contract may be required)
   • Align OEM’s maintenance management concept for CT Scanners with the DoD
      Maintenance Allocation Charts
   • Align OEM maintenance planning concept for CT Scanners with Level 10 (Field
      Maintenance (FM)) and Level 20 (FM /Sustainment Maintenance (SM)) maintenance
      standards
   • Develop a Level of Repair Analysis (LORA)
   • Develop Supportability centered metrics (MTTR, MTBF)
   • Of significant importance in the evaluation for this fact shall be the vendor’s plan of
       maintaining the RMF ATO for a period of 10 years or more. This should cover all aspects
       of how this will be done, how systems will have to be patched and upgraded, along with
       contractual path to maintaining the system.

General Maintenance Tasks that must be addressed within the plan are:
   • Operate: Operators and Maintainers perform this task at different levels (i.e. Operator
      performs scans, Maintainer uses troubleshooting applications service the system, or to
      determine faults.)

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   •     Inspect: Operators and Maintainers perform this task at different levels (i.e. Operators
         inspect the system prior to use, and maintainers inspect the system prior to and after
         service or repairs have been performed.)
   •     Service: (i.e. Operators may perform task limited to the user of the system. Maintainers
         perform all service tasks required to service, troubleshoot and repair the system.)
   •     Test: (i.e. Operators perform image quality tasks, and maintainers perform image quality
         and all task required, by the OEM, to validate that the systems outputs are within
         specifications.)
   •     Calibrate: (i.e. Operators may perform some image quality calibration tasks, and
         maintainer performs all OEM calibration verification tasks required for servicing the
         system.)
   •     Adjust: (i.e. Maintainers perform all the tasks related to system adjustments to service,
         and or repair the system.)
   •     Repair: (i.e. Maintainers perform all the tasks to repair the system.)
   •     Replace: (i.e. Maintainers perform all the tasks to troubleshoot and replace components
         that are malfunctioning)
   •     Overhaul: (i.e. Maintainers, at the higher levels of maintenance support (Depot, MERC,
         etc.) perform highly complex service, repairs, preventive maintenance and any other tasks
         that may require special skills and additional technical experience.)

The table below outlines the type of information that should be included within the Two-Level
Maintenance strategy:
                              1ST Level: Field Maintenance Level Support        2nd Level: SM
                                                                                Level Support
                             Field Maintenance Field Maintenance to be           Sustainment
                            to be performed by       performed by the CT      Maintenance to be
                               the CT Operator      Biomedical Equipment performed by the
                                  (Level 10)       Specialist (BES) (Level     BES (Level 20)
                                                              20)
 Troubleshooting guide,
                                      X                        X                      X
 tutorials, check lists
 Troubleshoot unit                                             X                      X
 Cosmetic Repairs                                              X                      X
 Software updates                                              X                      X
 Hardware updates                                              X                      X
 Board swaps                                                   X                      X
 Modular component
                                                               X                      X
 swaps
 Quality assurance,
 quality control,
                                                               X                      X
 calibration, &
 verifications
 Software restore                                              X                      X
 Minor repairs                                                 X                      X
 Minor adjustments                                             X                      X


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 Rebuild/ Refurbish/
                                                                                   X
 Overhauls
 X-ray certification/ re-
 certification after a                                                             X
 major repair
 Major repairs                                                                     X
 Clean unit                        X                         X                     X
 Perform functional test
 of the device prior to
 operating, setup system           X                         X                     X
 for operation and
 system warm up
 Self-diagnostics                  X                         X                     X
 Perform annual
 maintenance checks,
                                                             X                     X
 services and
 calibrations
 Identify components,
 characteristics,
                                   X                         X                     X
 capabilities, and
 limitations
 Identify Safety
 Symbols, Warnings,
                                   X                         X                     X
 and Cautions for the
 Machine
 Inventory the X-Ray
                                   X                         X                     X
 machine
 Operate the machine               X                         X                     X
 Pack system for storage
                                   X                         X                     X
 and movement
 Storage for long
                                                                                   X
 periods

A. Job Task Analysis Approach
Intent: To break the maintenance tasks of the CT system’s major components into small, more
manageable modules that allow for easier, detailed, and comprehensive supervision of the CT
operator and maintainer tasks necessary to keep the proposed system fully operational.

Deployable military CT scanners are normally composed of the following modules: Operating
console, Gantry, Patient Support Table, and Step-Up Transformer/Power Conditioners. For each
module, the Government desires that the vendor create a maintenance plan where the CT
operator and maintainer tasks address the General Maintenance Tasks and align with the Two-
Level Maintenance Support Concepts. An example module is shown below:




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 FACTOR 3 –TRAINING FACTOR - The Government will evaluate vendor’s offer against
the entire RFO Statement of Work (SOW) along with using the vendor’s submitted training plan
to assign strengths and weaknesses to the vendor’s offer. The Training factor shall use the
following rating methodology to evaluate vendor’s offers. This methodology shall include
consideration of risks, strengths, weaknesses, significant weaknesses, uncertainties, and
deficiencies in determining technical ratings.

   Adjectival
     Rating                                       Description
 Outstanding      Proposal indicates an exceptional approach and understanding of the
                  requirements and contains multiple strengths, and risk of unsuccessful
                  performance is low.
 Good             Proposal indicates a thorough approach and understanding of the
                  requirements and contains at least one strength, and risk of unsuccessful
                  performance is low to moderate.
 Acceptable       Proposal meets requirements and indicates an adequate approach and
                  understanding of the requirements, and risk of unsuccessful performance
                  is no worse than moderate.


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 Marginal           Proposal has not demonstrated an adequate approach and understanding of
                    the requirements, and/or risk of unsuccessful performance is high.

 Unacceptable       Proposal does not meet requirements of the solicitation, and thus, contains
                    one or more deficiencies, and/or risk of unsuccessful performance is
                    unacceptable. Proposal is unawardable.



Assessment of technical risk, which is manifested by the identification of weakness(es),
considers potential for disruption of schedule, increased costs, degradation of performance,
the need for increased Government oversight, and/or the likelihood of unsuccessful contract
performance. The risk cited in the above ratings are defined as follows:

       Low: Proposal may contain weakness(es) which have little potential to cause
       disruption of schedule, increased cost or degradation of performance. Normal
       contractor effort and normal Government monitoring will likely be able to overcome
       any difficulties.

       Moderate: Proposal contains a significant weakness or combination of weaknesses
       which may potentially cause disruption of schedule, increased cost or degradation of
       performance. Special contractor emphasis and close Government monitoring will
       likely be able to overcome difficulties.

       High: Proposal contains a significant weakness or combination of weaknesses which
       is likely to cause significant disruption of schedule, increased cost or degradation of
       performance. Is unlikely to overcome any difficulties, even with special contractor
       emphasis and close Government monitoring.

       Unacceptable: Proposal contains a material failure or a combination of significant
       weaknesses that increases the risk of unsuccessful performance to an unacceptable
       level.

Vendors shall provide a training plan for how they meet all Government minimum requirements,
focus areas below and other related training items that are advantageous for the Government.
Strengths will generally be assigned for plans that cover all aspects of training, provide for the
quickest deployment of training, provide for self sustaining training in deployable environments,
training enabling Government to fully support systems with internal resources, most flexible
schedule to account for difficulty to traveling and scheduling classes. Traditional training
approaches used in fixed facilities, ambiguous plans, plans that restrict ability or participation in
classes, limit Government ability to self support the system, don’t fully cover all aspects of
training would generally be defined as a weakness.


The vendor’s CT Scanner Training & Training Support Plan shall address:



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   •     Training & Training Support requirements found in the Joint Deployable CT Scanner
         RFO
   •     The environmental, physical, and network-accessibility constraints experienced by the
         Government in the deployed setting
   •     Training & Training Support Plan must complement the Maintenance & Maintenance
         Planning and Technical Data requirements in the CT Scanner RFO
   •     Training & Training Support plan is also intended to complement the CT Scanner
         training instructed at the Biomedical Equipment Repairer Course at the Medical
         Education and Training Campus (METC).
   •     All technical data will be reviewed in accordance with MIL-PRF-32216A
         EVALUATION OF COMMERCIAL OFF-THE-SHELF (COTS) MANUALS AND
         PREPARATION OF SUPPLEMENTAL DATA

The OEM shall provide a Training Program that provides training for Government personnel that
includes operational and maintenance procedures for the proposed system. The Government
specifically requests training topics including, but not limited to:
    • Principles of operation
    • Preparation for use and installation
    • Startup/shutdown
    • Operating instructions (control settings, start-up, normal operation, shutdown, and
        emergency shutdown)
    • Maintenance and servicing instructions (preventive and corrective)
    • Cleaning and lubrication
    • Performance verification
    • Inspection, troubleshooting
    • Software updates and security patch instructions
    • Preparation for shipment and long term storage
    • Safety hazard identification and mitigation
    • Required tools, test equipment, and consumables.
    • The contractor shall provide training materials, covering these topics, for each operator
        and maintainer being trained.

(C.) Business Proposal Evaluation

(1.) Overall Evaluated Price: The Overall Evaluated price shall be used along with evaluation of
technical proposals to determine which vendor is most advantageous and should be selected for
this standardization. This Overall Evaluated Price will be calculated by multiplying the Total
Evaluated Unit Price by the 35 each estimated quantity.

(a.) Total Evaluated Unit Price: The Total Evaluated Unit Price shall be arrived at by adding
together the weighted CLIN Price for the Evaluated CLINs, CLINs 0001 through 0007.

(b.) Weighted CLIN pricing (CLINs 0001 and 0006): These CLIN prices shall be weighted based
on number of units expected to be purchased of the CLIN. The weighted price shall be arrived at
by multiplying the Total Offered CLIN Price by the CLIN weight.



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CLIN         CLIN WEIGHT
0001          0.342857143
0002          0.657142857
0003          0.114285714
0004                  0.6
0005          0.285714286
0006                     1

(c.) Weighted CLIN price for CLIN 0007: If vendors charge for RMF Agreement, they shall
provide a annual RMF price. For evaluation purposes the Government shall use the per unit RMF
price and multiple the price by 9 years to arrive at the weighted price for CLIN 0007.

All RMF must be priced up front to cover compliance with Army IA requirements, including
providing all upgrades to the equipment/product that are required to maintain the ATO for 9
years from date to ATO, Cybersecurity monitoring and RMF recertification. These items cannot
be provided as part of maintenance. The Government shall purchase all RMF pricing with each
Deployable CT. The amount will be prorated to account for how many years are left to cover
RMF.

(d.) Total Offered CLIN Price: The Total Offered CLIN Price for CLINs 0001 through 0007
shall be determined by adding the prices of all individual offered part numbers that make up a
CLIN and which meets all of the requirements of this RFO for that CLIN, as defined in the RFO.
The prices for the individual part numbers will be obtained from the CLIN tabs in
ATTACHMENT #1. Vendors must provide pricing by completing each individual Evaluated
CLIN under its own tab and not lump CLINS together.


 (2.) Mandatory CLINs, Repair Parts, Sustainment and Training: The pricing for CLINs 0009
through 0020, Repair Parts, Sustainment and Training shall not be part of the Overall Evaluated
Price used to select a standardized vendor. However, all such items must be offered and
determined to be fair and reasonable in order for a vendor to receive an award. If a vendor fails
to offer these items and/or is not able to provide fair and reasonable pricing, the Government
may reject their proposal.

(3.) Optional Items: Vendors should offer pricing for optional items, consumables, accessories,
and other related items commonly bought with CT systems but which are that are not required to
meet the minimum requirements of which were not part of the Evaluated CLINS or Mandatory
Items listed above. All such items must be determined to be fair and reasonable in order for a
vendor to receive an award. Optional items are not mandatory and failing to provide such items
will not result in rejection of a vendors offer. However, lack of such items could impact the
vendors technical proposal under one of the factors and weaken their proposal in relation to other
vendors.


(D.) Trade-off Evaluation


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(1.) RFO Selection: The Contracting Officer will select a single vendor as part of this
standardization RFO, whose offer meets all minimum requirements and whose offer is
determined to be the most advantageous to the Government, price and other factors considered.
The technical factors are significantly more important than cost or price. The technical factors
when combined are significantly more important than cost or price. As technical proposals
become more equal, cost or price becomes more important.




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